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                        EXHIBIT I
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                                                                 11770 HAYNES BRIDGE ROAD, #205-219
                                                                 ALPHARETTA, GEORGIA 30009-1968
                                                                 (770) 630-5927
                                                                 akaufman@chalmersadams.com




                                        May 31, 2023

    VIA CERTIFIED U.S. MAIL RETURN RECEIPT REQUESTED,
    and/or FEDEX, REGULAR FIRST-CLASS MAIL, COURIER

City of Cumming                City of Cumming                 City of Cumming
Attn: Hon.Troy Brumbalow       Attn: Hon. Jason Evans          Attn: Hon. Linda Ledbetter
Mayor                          Council Member                  Council Member
Cumming City Hall              Cumming City Hall               Cumming City Hall
100 Main Street                100 Main Street                 100 Main Street
Cumming, GA 30040              Cumming, GA 30040               Cumming, GA 30040
Certified Mail:                Certified Mail:                 Certified Mail:
7014 1820 0000 2082 2236       7014 1820 0000 2082 2243        7014 1820 0000 2082 2250
FedEx: 7723 0712 2145
and VIA COURIER
City of Cumming                City of Cumming                 City of Cumming
Attn: Hon. Chad Crane          Attn: Hon. Joey Cochran         Attn: Hon. Christopher Light
Council Member                 Council Member                  Council Member
Cumming City Hall              Cumming City Hall               Cumming City Hall
100 Main Street                100 Main Street                 100 Main Street
Cumming, GA 30040              Cumming, GA 30040               Cumming, GA 30040
Certified Mail:                Certified Mail:                 Certified Mail:
7014 1820 0000 2082 2267       7014 1820 0000 2082 2274        7014 1820 0000 2082 2281
City of Cumming                City of Cumming                 City of Cumming
Attn: Jonathon Heard           Attn: Heath Martin              Attn: Tom Bryson
Director of Utilities          Assistant to Director           Superintendent Water Pollution
Cumming City Hall              Cumming City Hall               Division
100 Main Street                100 Main Street                 935 Dahlonega Highway
Cumming, GA 30040              Cumming, GA 30040               Cumming, GA 30040
Certified Mail:                Certified Mail:                 Certified Mail:
7014 1820 0000 2082 2298       7014 1820 0000 2082 2304        7014 1820 0000 2082 2311
City of Cumming                Miles Hansford & Tallant, LLC   McAngus Goudelock & Courie
Attn: Phil Higgins             Attn: Kevin J. Tallant          LLC
City Administrator             City Attorney                   Attn: W. Jason Pettus
Cumming City Hall              202 Tribble Gap Road            Insurance Counsel
100 Main Street                Suite 200                       270 Peachtree Street NW
Cumming, GA 30040              Cumming, GA 30040               Suite 1800
Certified Mail:                ktallant@mhtlegal.com           Atlanta, GA 30303
7014 1820 0000 2082 2328       Certified Mail:                 Jason.pettus@mgclaw.com
                               7014 1820 0000 2082 2335        Regular Mail
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           Re:       Blount Construction Company, Inc., v. City of Cumming.
                     Ante Litem Notice under O.C.G.A. § 36-33-5 et seq. Concerning Acts and Omissions
                     of the City of Cumming and its Representatives and Agents Relating to Property
                     Damage and Business Loss Resulting From Water Tower Failure


To Whom It May Concern:

        This office, together with The Hilbert Law Firm, LLC, represent Blount Construction Company,
Inc. (“Blount Construction” or “Blount”) regarding its claims against the City of Cumming (the “City”),
as noticed through the Mayor, City Council Members, the City’s Director of Utilities, and the
Superintendent of the Water Pollution Division, in their official capacities, concerning its wrongful and
negligent actions and omissions concerning the installation, maintenance, failure, and continued exercise
of control and dominion over a water tower and feeder pipes that are physically located directly above and
abutting the property of Blount Construction located at 911 Canton Highway, Cumming, GA, 30040 (the
“Subject Property”). Blount Construction has sustained significant damage to the Subject Property and to
its business operations. This letter meets the ante litem statutory notice requirements and makes a
settlement offer to the City of Cumming to resolve all claims and damages of Blount as against the City.

      You know that from 11:00 P.M. on December 6, 2022, to 9:30 A.M. on December 7, 2022, the
Water Tower and its supply pipes located at 921 Canton Highway, Cumming, GA, 30040 (collectively,
the “Water Tower”) released 1.3 million gallons of water 1 (the “Tower Failure”) onto the Subject Property.

        Blount Construction has incurred and continues to incur significant damages, as a direct and
proximate result of the Tower Failure and the City’s concerted actions and inactions. The damages include
but are not limited to lost business, lost business opportunities, and damage to retaining ponds 2 on the
Subject Property. Additionally, damage has occurred to two trailers, two containers full of equipment, and
denuding of the landscape of trees and vegetation.

         The City received emergency notification sometime shortly after 11:00 P.M. on December 6, 2022,
that the City Water Tower was empty. Despite this warning, the City did nothing in immediate response
to this emergency warning. The City did not warn Blount Construction. The City did not properly maintain
the pipes feeding water into the Water Tower. The City’s failure to maintain the pipes caused a failure of
lateral support. Ultimately, this failure resulted in a pipe burst leading to a deluge of water and a landslide.

        The Tower Failure was predictable, obvious, and preventable, yet the City did nothing to prevent
or effectively mitigate the damage that it caused. In connection with the erection of a temporary wall, the
City trespassed on the Subject Property by performing extensive testing, video, photography, and analysis
of the Subject Property without any prior notice, permission, license, or authority of Blount Construction.

1
    As admitted to in the City’s expert report.
2
    Blount’s expert identifies three (3) ponds at the site.
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        The City has caused and is hereby placed on notice of its creation of a nuisance. Under Georgia
law, each day the unabated conditions remain at the Tower and on the Subject Property only serves to
exacerbate the damages caused by the maintenance of this continuing nuisance and is a “fresh” and
separate nuisance for which damages lie. Demand is hereby made for the City to immediately take all
actions to abate the continuing nuisance as required by law pursuant to O.C.G.A. § 41-1-1 within thirty
calendar days of the date of this letter, and to cease any and all continuing acts of nuisance and of unlawful
trespass to land and chattel. Any actions that the City desires to take to cease the nuisance and trespass
shall require prior notice, permission and authority of Blount Construction if it involves entering onto the
Subject Property.

        On February 15, 2023, our office sent an Open Records Request pursuant to O.C.G.A. § 50-18-
71. The City failed to timely and properly answer the Request in violation of O.C.G.A. § 50-18-71. This
failure subjects the City to the penalties set forth in O.C.G.A. § 50-18-74 et seq. Further, the City, by and
through its counsel, has admitted that it has withheld information, allegedly based upon privilege, a
position to which we take exception as being contrary to law. Moreover, the City has dribbled information
to us past the statutory deadline for responses. It is Blount Construction’s intention to exercise all statutory
remedies available to it for these intentional violations by the City and its participant personnel. We are
entitled to receive all documents and evidence requested, including all contracts with third parties relating
to the taking of core samples, testing, and analysis. Additionally, we are entitled to receive the requested
information concerning the monitoring of the water system, Tower, piping, and the “alert” that was
negligently ignored by the City on the day of the initial incident.

        Blount Construction’s actual known damages as of the date of this letter are                  , but
due to the nature of the continuing nuisance and trespass, these damages will continue to accrue on a daily
basis as each day constitutes a continuing “fresh” nuisance. Further, Blount Construction intends to seek
in addition to all damages allowed by law together with attorneys’ fees, litigation costs and expenses.

       Blount Construction hereafter sets forth its claims and damages:

1.     Continuing Nuisance: Damages of

        Blount Construction gives notice of its claims for a continuing nuisance against the City. A
nuisance is anything that causes hurt, inconvenience, or damage to person or property. Bishop Eddie Long
Ministries v. Dillard, 272 Ga. App. 894, 901, 613 S.E.2d 673 (2005). To be held liable for a nuisance, a
tortfeasor must be either the cause or a concurrent cause of the creation, continuance, or maintenance of
the nuisance. Fielder v. Rice Const. Co., 239 Ga. App. 362, 365, 522 S.E.2d 13, 16 (1999). When a
governmental entity causes, continues, or maintains a nuisance, property that can be harmed by a nuisance
“means the rights of the owner in relation to land or a thing; the right of a person to possess, use, enjoy
and dispose of it, and the corresponding right to exclude others from the use.” Duffield v. DeKalb County,
432, 433-34, 249 S.E.2d 235 (1978). A municipality, whether exercising its governmental or its ministerial
functions, is liable for damages resulting from operating or maintaining a nuisance. City of Columbus v.
Myszka, 246 Ga. 571, 571, 272 S.E.2d 302, 304 (1980).
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        A continuing nuisance is one which a party contends is not properly maintained, as opposed to
merely its existence. City of Atlanta v. Kleber, 285 Ga. 413, 417, 677 S.E.2d 134, 137 (2009). In a
continuing, abatable nuisance case, the plaintiff is not limited to a recovery of rental value or market value;
rather, he may recover any special damages whether the injury is of a temporary or a permanent nature.
Burleyson v. Western & A. R. Co., 91 Ga. App. 745, 87 S.E.2d 166 (1955).

        While the Tower and piping, and the failure to maintain and monitor same, previously installed
along or on the Subject Property presented a continuing nuisance 3, any purported subsequent remedial
actions taken, including but not limited to, installing a temporary and unlawful wall creates a separate,
new, and fresh continuing nuisance. In Kleber, citing City Council of Augusta v. Boyd, 70 Ga. App. 686,
29 S.E.2d 437 (1944), the Court determined that the improper installation of piping in an open sewer
drainage ditch adjacent to a landowners’ property alone was a nuisance, whereas the improper
maintenance of the drainage pipe was a continuing nuisance. The same analysis applies here. The City’s
failure to properly maintain and monitor the Tower and water pipes caused the catastrophic damage on
the Subject Property.

        Blount is also entitled to stigma damages resulting from this continuing nuisance. Diminution in
value is an element in determining the proper measure of damages to real property. Royal Capital Dev.,
LLC v. Maryland Cas. Co., 291 Ga. 262, 264, 728 S.E.2d 234 (2012). Diminution-in-value stigma
damages seek to compensate the injured party for the loss in value when “the repair does not fully restore
the property to its pre-damage value.” Id. Such damages are available when, “notwithstanding remedial
measures undertaken by the injured party, there remains a diminution in value of the property, and an
award of only the costs of remedying the defects will not fully compensate the injured party.” Id. at 265.
Because this is an ongoing, continuing nuisance, with fresh damages each day, and the value of the
property has been substantially diminished due to the ongoing threat of harm, Blount is entitled to the
diminution of its property value to be established at trial but is expected to be over            .

       Blount additionally seeks its attorney’s fees, costs, and expenses under O.C.G.A. § 13-6-11 as well
as uncapped punitive damages under O.C.G.A. § 51-12-5.1 stemming from this continuing nuisance claim
which a multiple of actual damages shall be sought in accordance with law and in the enlightened
conscience of an impartial jury.

2.      Trespass to Chattel: Damages of

        Blount Construction gives notice of its claim against the City for trespass to personalty. The owner
of personalty is entitled to its possession and any deprivation of such possession is a tort for which an
action lies. O.C.G.A. § 51-10-1. “Interference with the mere possession of a chattel, even if the possession
is without title or is wrongful, shall give a right of action to the possessor, except as against the true owner
or the person wrongfully deprived of possession.” OCGA § 51-10-2. “Any unlawful abuse of or damage
done to the personal property of another constitutes a trespass for which damages may be recovered.”
OCGA § 51-10-3. “The gist of such an action of trespass [to personal property] is the injury done to the

3
 See GEOTECHNICAL ASSESSMENT REPORT, City of Cumming, Georgia, Highway 20 Sawnee Tank Site, Apr. 5, 2023, P. 13-
14.
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possession of the property.” Caldwell v. Church, 341 Ga. App. 852, 856, 802 S.E.2d 835, 841 (2017),
disapproved of by Gen. Motors, LLC v. Buchanan, 313 Ga. 811, 874 S.E.2d 52 (2022) (citing Duncan v.
Ellis, 63 Ga. App. 687, 689, 11 S.E.2d 841 (1940)).

        The City is liable for trespass to chattel. Blount has suffered damage to and been wholly deprived
of its possession of two (2) large trailers, two (2) containers of equipment, and other equipment and
personal property, based on information and belief known at this time, as a result of the City’s Tower and
pipe burst causing the landslide onto the Subject Property and the Abutting Property. Blount Construction
has also been precluded from using its equipment and has prevented it from bringing in it other trucks and
equipment due to the fact that ingress and egress have been impeded by the damage caused by the City.

      Blount seeks its attorney’s fees, costs, and expenses under O.C.G.A. § 13-6-11 as well as punitive
damages under O.C.G.A. § 51-12-5.1 stemming from this trespass to chattel claim.

3.     Trespass to Real Property: Damages of

        Blount Construction gives notice of its claims for trespass to real property. Georgia law provides
that “An owner of real property has the right to possess, use, enjoy, and dispose of it, and the corresponding
right to exclude others from its use. In an action for trespass, the landowner may recover compensatory
damages upon a showing of any wrongful, continuing interference with a right to the exclusive use and
benefit of a property right.” (Citations and punctuation omitted.) LN West Paces Ferry Assocs., LLC v.
McDonald, 306 Ga. App. 641, 643, 703 S.E.2d 85 (2010). The right of enjoyment of private property
being an absolute right of every citizen, every act of another which unlawfully interferes with such
enjoyment is a tort for which an action shall lie. O.C.G.A. § 51-9-1. Moreover, punitive damages may be
awarded for a trespass that reflects “an intentional disregard of the rights of another.” Tyler v. Lincoln,
272 Ga. 118, 120(1), 527 S.E.2d 180 (2000). See OCGA § 51–12–5.1(b).

       Upon information and belief, and based on a report from the City, the City sent agents and
representatives onto Blount’s property on or around March 8, 2023, and likely on multiple other occasions.
The report contains coring, seismic, boring, and measurement data obtained on Blount Construction’s
property without Blount’s consent. Given that the City was made aware of my representation of Blount
on or about February 15, 2023, and because neither Blount nor my office was contacted seeking
permission to conduct any type of survey, the City trespassed on my Client’s property causing damages.
Moreover, because the City’s expert(s), as its agent, unlawfully entered the land and took multiple soil
samples, amounting to an unconstitutional taking of land and/or inverse condemnation in violation of
Blount’s State and Federal constitutional rights under the Fifth Amendment of the United States
Constitution and Article I, Section III, Paragraph 1 of the Georgia Constitution.

        In addition, as a direct result of the Tower Failure, trucks have been unable to come and go as a
result of blocked ingresses and egresses. This not only constitutes a singular trespass, but a continuing
trespass. Further, the Tower Failure has resulted in Blount’s lack of use and enjoyment of its land for
business purposes.
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      Blount seeks its attorney’s fees, costs, and expenses under O.C.G.A. § 13-6-11 as well as punitive
damages under O.C.G.A. § 51-12-5.1 stemming from this trespass to real property claim.

4.     Negligence and Gross Negligence: Damages of

         Blount Construction hereby gives notice of its claims for negligence against the City. Negligence
under Georgia law involves a legal duty, a breach of the legal duty, proximate cause and damages. To
state a cause of action for negligence, a party must establish (1) a legal duty; (2) a breach of this duty; (3)
an injury; and (4) a causal connection between the breach and the injury. Martin v. Ledbetter, 342 Ga.
App. 208, 211, 802 S.E.2d 432, 434 (2017). Gross negligence is equivalent to the failure to exercise even
a slight decree of care or a lack of diligence that even careless men are accustomed to exercise. Pottinger
v. Smith, 293 Ga. App. 626, 628, 667 S.E.2d 659 (2008) A claim by a lower riparian landowner against
the owner/operator of a dam above him because of high water must be based upon the negligent release
of excessive water from the reservoir behind the dam and cannot be based upon the negligent storing of
the water, unless the negligent storing caused or forced the release of excessive water. Baldwin Processing
Co. v. Georgia Power Co., 112 Ga. App. 92, 100, 143 S.E.2d 761, 767 (1965). Analogous to a dam, the
Water Tower and piping was located on the upper riparian tract of land, and negligently caused and forced
the release of excessive concentrated and directed flow of water (even after an alert) through unnatural
means onto the Subject Property as the lower riparian tract resulting in catastrophic damages to property.

        Res ipsa loquitur, a legal maxim meaning that a transaction speaks for itself, is an evidentiary
based rule which provides for an inference of negligence to arise from the occurrence of an injury-causing
incident. Ken Thomas of Ga., Inc. v. Halim, 266 Ga. App. 570, 573, 597 S.E.2d 615 (2004). The elements
of the doctrine of res ipsa loquitur are well settled: (1) an injury which ordinarily does not occur in the
absence of someone's negligence; (2) the injury must be caused by an agency or instrumentality within
the defendant's exclusive control; and (3) the injury was not caused by any voluntary action or contribution
on the part of the plaintiff. Id.

        As the higher riparian landlord, the City owed a duty to (1) properly place, secure and monitor the
pipes running water up to the Water Tower and (2) not to cause or permit the pipes to leak, and/or the
release of excessive water onto Blount’s property. The City knew, or should have known, that the pipes
running up to the Water Tower were improperly placed, secured, maintained and/or monitored. Moreover,
the City failed to maintain the piping which altered the natural flow of water, dramatically increased the
turbidity and concentration of the water which was foreseeably directed toward the lower tenement Subject
Property, and thereby is responsible. As the landowner on higher ground, the City owes a duty to Blount
breached that duty which directly and proximately resulted in damages to Blount Construction and its
property.

        Upon information and belief, the City knew (or should have known) of the apparent rupture of
pipes on the other side of the Water Tower from where the Tower Failure occurred. Further, the City was
warned, or should have been warned, of the Tower Failure on December 6, 2022, and failed to take any
action. Ultimately, the City should have had warning of the likelihood of the pipes failing and did not, or
did have warning and did not exercise its ordinary duty of care to Blount and did nothing until more than
one million gallons of the City’s water had caused its damage to Blount.
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        In addition, the City also knew, or should have known, that the placement and location of the Water
Towers, as well as the installation of the pipes, was too close to the ridge adjoining Blount’s Property.
Upon information and belief, the City also made a negligent repair to the pipes, resulting in the above-
described continuing nuisance. Finally, the City put up an emergency wall to support the land and upon
information and belief, no permits or notice of any permitted activity were given to Blount prior to
installation of the wall.

        At a minimum, the City is liable for negligence under the maxim of res ipsa loquitur. First, the
Water Towers and pipes running to the Towers were under the exclusive control of the City. Second, the
landslide and outpouring of a million gallons of water onto Blount’s property would not have occurred in
the absence of the City’s negligence. Lastly, Blount took no actions which caused or contributed to the
landslide or burst pipes.

        Further, upon information and belief, the City is given notice that it may also be in violation of the
Georgia Water Quality and Control Act, the Georgia Waste Control Act, Clean Water Act, the Georgia
Erosion and Sedimentation Control Act, related environmental statutes, and other regulations issued under
these statutes, by failing to abide by or obtain permits required under Georgia and federal law in relation
to the excessive runoff of water and silt caused by the burst pipe. If that is the case, the City may also be
liable of negligence per se as it failed to put the appropriate protective measures in place and failed to
prevent further erosion, runoff, and siltation in violation of law after the Tower Failure.

        Blount Construction is also entitled to stigma damages resulting from this continuing nuisance.
Diminution in value is an element in determining the proper measure of damages to real property. Royal
Capital Dev., LLC v. Maryland Cas. Co., 291 Ga. 262, 264, 728 S.E.2d 234 (2012). Diminution-in-value
stigma damages seek to compensate the injured party for the loss in value when “the repair does not fully
restore the property to its pre-damage value.” Id. Such damages are available when, “notwithstanding
remedial measures undertaken by the injured party, there remains a diminution in value of the property,
and an award of only the costs of remedying the defects will not fully compensate the injured party.” Id.
at 265. Because this is an ongoing, continuing nuisance, Blount is entitled to the diminution of its property
value.

      Blount Construction also seeks its attorney’s fees, costs, and expenses under O.C.G.A. § 13-6-11
stemming from this negligence claim and, in the case of gross negligence, seeks punitive damages under
O.C.G.A. § 51-12-5.1.

5.     Failure to Maintain Lateral Support: Damages of

        Under O.C.G.A. § 44-9-3, “owners of adjoining lands owe to each other the lateral support of the
soil of each to that of the other in its natural state.” § 44-9-3 does not deny a landowner the right to the
full use of his property including the right to make excavations upon his property up to the boundary line
of the adjoining landowner; but in making such excavations, he must avoid unnecessary injury to the
property of the adjoining landowner; and when through failure ‘to exercise ordinary care and reasonable
precaution ‘to sustain the land’ of the [adjoining landowner] as the excavation is being made and in the
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changed condition,' injury is inflicted upon the adjoining land by the withdrawal of lateral support, the
excavator has committed a tort for which he may be liable in damages. Paul v. Bailey, 109 Ga. App. 712,
715, 137 S.E.2d 337, 340 (1964) (citing Massell Realty Co. v. MacMillan Co., 168 Ga. 164(1), 169, 147
S.E. 38, 40). An adjoining landowner sustains an injury for which damages may be recoverable when the
excavation and resulting withdrawal of lateral support causes his land to crack, slide, fall in or otherwise
suffer actual physical disturbance. Id. The excavation itself is not an actionable wrong, but rather the act
of allowing injury to the other land through failure to exercise ordinary care to sustain the land. Id.

         Prior to the Tower Failure, the hillside running down from the site of the Water Tower to Blount’s
facilities was in its natural state—fully forested and untouched by Blount. While the City may have been
within its right to install pipes feeding the Water Tower up on the ridge running along Blount’s Property
(it remains to be seen if the pipe was a trespass on Blount’s land), Blount is nonetheless entitled to recover
for the damages it sustained as a result of the City’s failure to maintain the pipe(s) from leaking and failure
to maintain the lateral support of the land adjoining its property and Blount’s, causing undue saturation
and the subsequently ensuing massive landslide onto its Property. The City has the responsibility to
maintain the support of the land that its Water Tower and piping sits upon, and not cause or contribute to
the cause of a landslide as a result of its unnatural additions to the land.

       Blount also seeks its attorney’s fees, costs, and expenses under O.C.G.A. § 13-6-11 stemming
from this failure to maintain lateral support claim.

6.     Inverse Condemnation: Damages of

        Private property shall not be taken or damaged for public purposes without just and adequate
compensation being first paid. Ga. Const., art. I, § III, par. I. An inverse condemnation claim arises where
a municipality takes “some affirmative action for public purposes causing a nuisance or trespass which,
in turn, result[s] in the diminished utility and functionality of a private owner's land. The diminished
functionality and utility, in turn, interfere[s] with the owner's use and enjoyment of the land.” Rabun
County v. Mountain Creek Estates, 280 Ga. 855, 857, 632 S.E.2d 140 (2006). An “inverse condemnation
action may be brought against [a] public body for diverting water, impairing access, causing mud and silt
to flow onto property and for damaging property by noise, odors, or pollution.” City of Tybee Island,
Georgia v. Live Oak Grp., LLC, 324 Ga. App. 476, 479, 751 S.E.2d 123, 126 (2013) (quoting Columbia
County v. Doolittle, 270 Ga. 490, 491–492, 512 S.E.2d 236 (1999) (holding an inverse condemnation
occurred where the county failed to properly maintain a drainage system in an upstream subdivision and
the downstream landowner’s pond was, as a result, filled with silt, muck, and debris)). Moreover, a
municipality may be held liable for negligent design and maintenance which causes flood damage. Powell
v. Ledbetter Bros., 251 Ga. 649, 650–651, 307 S.E.2d 663 (1983).

        The City is liable for inverse condemnation. There is no doubt that the City installed the pipes
running up to the Water Tower adjacent to the Blount property. Based on information and belief, the City
failed to properly maintain the pipe prior to the Tower Failure and was on notice, or should have been on
notice, that the pipe(s) at issue were improperly located, maintained, and monitored. Further, based on
information and belief, the City had actual notice on the night of the Tower Failure and did nothing to take
immediate action. As a result, and to a much more significant extent than seen in Doolittle, Blount’s
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property suffered the full force of approximately 1.2 million gallons of water and silt land sliding onto its
land damaging retaining ponds and other property and equipment. The City’s failure to properly maintain
the pipe[s] has made Blount’s property unusable and prevented Blount from its use and enjoyment of its
land, thereby causing a taking.

        Blount is also entitled to stigma damages resulting from this continuing nuisance. Diminution in
value is an element in determining the proper measure of damages to real property. Royal Capital Dev.,
LLC v. Maryland Cas. Co., 291 Ga. 262, 264, 728 S.E.2d 234 (2012). Diminution-in-value stigma
damages seek to compensate the injured party for the loss in value when “the repair does not fully restore
the property to its pre-damage value.” Id. Such damages are available when, “notwithstanding remedial
measures undertaken by the injured party, there remains a diminution in value of the property, and an
award of only the costs of remedying the defects will not fully compensate the injured party.” Id. at 265.
Because this is an ongoing, continuing nuisance, Blount is entitled to the diminution of its property value.

       Blount also seeks its attorney’s fees, costs, and expenses under O.C.G.A. § 13-6-11 stemming
from this inverse condemnation claim.

7.     Lost Profits: Damages of

        Lost profits are recoverable as an item of damages when the expected profits of a commercial
venture are capable of ascertainment and the loss of them is traceable directly to the defendant’s wrongful
act. Johnson Cnty. Sch. Dist. v. Greater Savannah Lawn Care, 278 Ga. App. 110, 112, 629 S.E.2d 271,
273 (2006) (citing Molly Pitcher Canning Co. v. Central of Ga. R. Co., 149 Ga. App. 5, 10, 253 S.E.2d
392 (1979)). Recovery of lost profits is not precluded in a tort action where such loss is capable of
reasonably accurate computation. Molly Pitcher Canning Co. v. Central of Ga. R. Co., 149 Ga. App. 5,
10, 253 S.E.2d 392 (1979).

       As a direct result of the damage to Blount’s Property from the Tower Failure, Blount has and
expects to, given the remediation timeline, incur losses totaling                 including: current and
expected lost job profits, current and expected FOB sales loss profits, and current and expected asphalt
manufacturing costs. However, these costs and losses are only based on what is presently known and may
increase.

       Blount also seeks its attorney’s fees, costs, and expenses under O.C.G.A. § 13-6-11 stemming
from this lost profits claim.

8.     Violation of the Georgia Open Records Act: Damages as allowed by statute.

        As stated above, our office sent an Open Records Request to the City pursuant to O.C.G.A. § 50-
18-71 on February 15, 2023. The City failed to timely and properly answer the Request in violation of
O.C.G.A. § 50-18-71 and subject the City to the penalties set forth in O.C.G.A. § 50-18-74. Further, the
City, by and through its counsel, has admitted that it has withheld information, allegedly based upon
privilege, and dribbled information well past its deadline to produce documentation and information
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requested. Consequently, Blount intends to pursue all remedies provided for under the Georgia Open
Records Act.

        Based on information and belief known at this time, the City of Cumming received emergency
notification sometime shortly after 11:00 p.m. on December 6, 2022, that the Water Tower along my
Client’s property was empty. However, the City disregarded the emergency notifications and as a result,
approximately 1.3 million gallons of water continued to run not only from the Water Tower, but also the
pipes, ultimately flooding and saturating Blount’s Property and creating conditions that caused the failure
of the pipes and a landslide in an area that was heavily forested and protected by natural vegetation. Based
on the City’s failure to ameliorate the water and silt runoff, my Client may be entitled to punitive and
exemplary damages against non-governmental actors that were directed by and acting as independent
contractors and agents of the City.

        This letter is being timely served upon the City of Cumming, through its Mayor, with copies to its
City Attorney(s), Councilmembers, and Director of Utilities as a municipal corporation of the State of
Georgia, pursuant to O.C.G.A. § 36-33-5 et seq. as an ante-litem notice, and as otherwise required by law,
in order to afford the City and its governing members the opportunity to investigate the claims set forth
herein, ascertain the evidence and to avoid the incurrence of unnecessary litigation through out-of-court
resolution. See City of Alpharetta v. Francis, 366 Ga. App. 454, 455 (2023). In further support of Blount
Construction’s claims, preliminary reports regarding the damage done to Blount’s property and Blount
Construction’s business are attached collectively hereto, including Exhibit 1, a preliminary report
prepared by RIO GeoEngineering, LLC, Exhibit 2, which contains two independent proposals to clean
up retention ponds which were damaged by the Tower Failure, and Exhibit 3, containing reports prepared
by Blount showing existing and anticipated businesses losses resulting from the Tower Failure.
Additionally, Blount’s engagement letter with our office is attached hereto as Exhibit 4. As you are no
doubt aware, the statutes of limitation on any and all claims against the above-named governmental entities
and individual persons are tolled under Georgia law pending the review of and resolution of this ante litem
notice. Blount Construction reserves the right to supplement this letter as discovery and further
investigation proceeds.

       As this letter serves as the formal ante litem notice pursuant to Georgia Law generally, it is given
with regard to the harm, injury and wrongful conduct committed against my Client for which it is now
demanding restitution, compensation, and redress under all causes of action at law and equity under
Georgia law. My Client intends to bring a lawsuit and claims against the City and all legal persons
involved or acting on behalf of the City, asserting tort and statutory claims, including but not limited to
continuing nuisance, trespass to chattel, trespass to property, failure to maintain lateral support,
negligence, negligent repair, constitutional taking, indemnification, joint and several liability, conspiracy,
the Georgia Water Quality and Control Act, the Georgia Waste Control Act, the Georgia Erosion and
Sedimentation Control Act, and regulations issued under these statutes, and the Georgia Open Records
Act. The damages that my Clients intend to seek are general damages, actual damages, special damages,
incidental damages, compensatory damages, statutory damages, punitive damages, exemplary damages,
pre and post judgment interest, and unliquidated statutory interest along with attorney's fees, costs and
expenses of litigation, if not settled and resolved prior to bringing suit.
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        Additionally, please let this letter serve as Blount Construction’s demand that the City’s insurance
carriers be placed on notice of damages and liability of the aggregate limit of                .

        The damages outlined in this letter for the multiple instances and ongoing daily nuisances far
exceed insurance policy limits of the City of Cumming. As such, the City’s insurers are placed on notice
that Blount Construction is seeking damages in excess of policy limits and if the City’s insurers tender
policy aggregate limit to Blount Construction, they shall do so within thirty (30) days of the date of this
ante litem notice.
______________________________________________________________________________

                  OFFER OF SETTLEMENT AND COMPROMISE/RULE 408:
                INADMISSIBLE IN COURT OR OTHER LEGAL PROCEEDING

         Blount, by and through its counsel, demands compensation and formally offers a settlement to the
City of Cumming to end this potential contentious and protracted dispute as to all claims and damages
in the amount of                 . This amount is based on evidence and upon the types of claims intended
to be brought. The effort to settle this matter out of court with the City of Cumming set forth hereinabove
should be only construed as a demand for compromise and settlement by and between Blount Construction
and the City of Cumming. This amount is inclusive of attorneys' fees, costs, expenses, and interest incurred
to date.


        In good faith, you are reminded that you have already received and should remain in compliance
with the Litigation Hold Letter, sent on February 13, 2022. A copy of the Letter is attached and
incorporated herein as Exhibit 5. You are further hereby put on notice of claims related to sanctions
that may be imposed by a court of law concerning violations of the Litigation Hold Letter and
spoliation of evidence including, without limitation, removal of the pipe debris, disposal of core
samples unlawfully taken, destruction or deletion of evidence involving the “alert” and monitoring
of the Water Tower and piping system, amongst other evidence.

        Your failure to timely contact me within the statutory time period or other time periods referenced
herein, shall evidence that you are not interested in any settlement agreement or resolving this dispute in
good faith, and that my Client will then be entitled to pursue all available legal claims and remedies,
including without limitation, statutory relief, constitutional relief, claim for trespass, nuisance, and other
claims including without limitation, attorneys fees, costs and expenses under O.C.G.A. § 13-6-11, or as
otherwise may be applicable, as well as statutory pre-judgment and post-judgment interest.

        If you should like to discuss this matter further, you are welcome to contact me directly. All
communication directed to my attention should also include co-counsel Mr. Kurt Hilbert, Esq., at The
Hilbert Law Firm, LLC, whose address is 205 Norcross Street, Roswell, GA, 30075 and via email at
khilbert@hilbertlaw.com.


                                      [Signature on Following Page]
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                                          /s/ Alex B. Kaufman_____
                                          Alex B. Kaufman, Esq.
                                          For the Firm

cc:   Blount Construction Company, Inc.
      Kurt R. Hilbert
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                        EXHIBIT 1
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TABLE

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Figure 5 – Water Main Leak Area Exhibit (2 of 2)
Figure 6 – Water Main Excavated Pipe Exhibit
Figure 7 – 1975 – 2023 Historic Rainfall Record Exhibit

APPENDIX

Appendix A – March 28, 2023 R. Ospina Site Visit Photos
Appendix B – May 8, 2023 R. Ospina Site Visit Photos
Appendix C – May 8, 2023 Boundary and Topographic Survey
Appendix D – Record Review Select Site Photos
Appendix E – 1975 – 2023 Historic Rainfall Data
Appendix F – Slope Stability Analysis
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     1.0 BACKGROUND

     Blount Construction Company, Inc. (Blount) operates an asphalt plant located at 911 Canton
     Highway, Cumming, Georgia in Forsyth County, Georgia. The City of Cumming (City) owns a
     property located at 921 Canton Highway on the north side of Blount’s property along a narrow,
     northeasterly-southwesterly oriented ridgeline (Sawnee Mountain - USGS Cumming Quadrangle,
     Georgia 7.5 Minute, 1999)). The City operates two large water supply tanks reportedly 500,000 and
     800,000 gallon capacity on top of the ridge just on the north side of Blount’s property boundary. An
     approximately 8” diameter Ductile Iron Pipe (DIP) water main serving the two tanks running along the
     north side of the City’s and Blount’s property boundary at the top of the hill side along the slope crest.
     A slope failure reportedly occurred sometime during the night of December 6, 2022 at the Blount’s
     property. A total of 2.13 inches of rainfall was reported by a nearby weather station on December 6,
     2022. Approximately 1.3 million gallons of potable water were released over night from the two City
     water storage tanks impacting Blount’s property and asphalt plant operations. The location of the City
     tanks, approximate location of the water main and extent of the slope failure sliding mass on Blount’s
     asphalt plant property is shown in Figure 1. Pre-failure 2015 GIS topography obtained from Forsyth
     County GIS Department is shown on Figure 2. A pipe joint of the watermain was reportedly described
     located within the section of pipe that failed.

     The property line along the south side of the tanks is approximately 15 to 20 feet from the edge of the
     tanks, and about 10 feet south from the south slope crest (along the existing security fence). Prior to
     the slope failure, the watermain feeding the tanks was located about 10 feet north of the property line
     with a section of the watermain running within the slope of the slide area (below the crest of the slope)
     based on 2015 GIS Forsyth County topography, and photos and videos taken by Geosystems and
     City staff.

     The release of water from the tanks and slope failure sliding mass impacted approximately 0.4 acres
     of pine tree forested land on the hill side, plant operations paved area and operations access,
     damaged an office trailer, flooded two equipment storage containers, impacted on-site access roads
     to Ponds No. 1, 2 and 3, and discharged washed sediment into Ponds No. 1, 2 and 3 documented
     during RIO’s Site Visits on March 28 and May 8, 2023. As of May 8, 2023 (last site visit by Mr. Rafael
     Ospina with RIO), the plant normal operations were still shut down.

     RIO GeoEngineering, LLC (RIO) was retained by Chalmers, Adams, Backer & Kaufman, LLC (CABK)
     on behalf of Blount to review available project documents, perform site visits on March 28, 2023 and
     May 8, 2023, perform preliminary stability analysis, and prepare this Preliminary Engineering
     Assessment Report.

     1.1 City Slope Failure Initial Response and Evaluation

     The City retained GeoSystems Engineering, Inc (GeoSystems) in December 2022 to visit the site and
     provide an initial assessment of the slope failure, an initial Letter of the initial assessment was issued
     by GeoSystems on December 12, 2022. GeoSystems visited the site on December 8 and 9 and met
     on December 9 with GeoStabilization International (GSI), a geotechnical contractor specializing in
     slope stabilization, to observe site conditions and discuss possible stabilization methods for repair of
     the slope. Based on visual observations during the initial assessment, GeoSystems determined that
     there was no risk of slope failure extending towards the eastern most tank in the near future, and that
     even though there was some evidence of previous movement and instability of the south slope along


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     the tanks pad, there were not “recent” signs of slope movement and tension cracks. Geosystems
     recommended a further slope stability analysis to evaluate the long-term stability of the entire south
     slope, and perform a geotechnical exploration to provide soil strength parameters for slope area
     stabilization design being prepared by GSI design/build contractor.

     1.2 GeoSystems Geotechnical Exploration and Stability Analysis

     Following the initial assessment, GeoSystems completed a geotechnical exploration, laboratory
     testing, geophysical investigation and slope stability analysis to assess the long-term slope stability
     at the site and provide permanent repair recommendations for the failed slope. The results of the
     geotechnical exploration and slope stability analysis were documented in a final Geotechnical
     Assessment Report dated April 5, 2023. GeoSystems retained Collier Geophysics, LLC (Collier) to
     perform the geophysical survey lines to characterize subsurface conditions along the slope. Collier
     issued a report dated March 17, 2023 included as attachment to the Geosytems Geotechnical
     Assessment Report. Civil Engineering Consultants (CEC) retained by GSI provided a topographic
     survey of the slide area and adjacent east and west slopes based on a combination of drone fly over
     topography and ground run survey completed for the slope west of the slide area. Laboratory testing
     was completed on samples collected from SPT soil borings completed within the tanks pad area, with
     only two of the SPT borings complete near the crest of the slide area. Hand auger borings without
     dynamic cone penetration testing were completed along the slope west of the slide area along with
     the geophysical survey lines. Kilman Brothers Drilling was retained by GeoSystems to complete the
     geotechnical SPT borings. Drilling of SPT Borings was completed during December 28 and 29, 2022,
     hand auger borings were completed on February 3, 2023, and the geophysical survey by Collier was
     completed on March 8, 2023.

     1.3 GeoStabilization International (GSI) Soil Nail Wall Design/Build

     GSI was retained by the City to provide design/build services for the stabilization of the upper part of
     the slope so the City could refill the tanks. The design and repair consisted of a Soil Nail Wall 10 feet
     high and approximately 100 feet long. Soil nails were designed to be installed in a triangular pattern
     spaced about 5 feet apart. The soil nails were designed to be installed in two rows along the wall and
     extend up to 28 feet (top row) and up to 18 feet (lower row), with horizontal drains up to 20 feet in
     length installed at 10-foot center to center. The face of the wall was designed to be covered with 8 to
     10 inches of shotcrete depending on the location of the wall. GSI started wall construction activities
     the week of December 19, 2022, and was completed about January 17, 2023. No construction
     records were available for review and preparation of this report.

     Geosystems has performed periodic slope stability site inspections since the construction of the Soil
     Nail Wall and no issues of concern have been identified since their initial site visit after the
     construction of the wall on January 25, 2023 until the preparation of their submittal of their final
     Geotechnical Assessment Report dated April 5, 2023.

     1.4 Review Documents - Preliminary Engineering Evaluation

     RIO’s preliminary evaluation is based on a review of the following information provided by Chalmers,
     Adams, Backer & Kaufman, LLC:




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     Documents Released by City’s Counsel:

          1) Phone Video by City Staff – File Name: SM Video 1, dated December 7, 2022.
          2) “Preliminary Geotechnical Assessment Report” prepared by Geosystems Engineering, Inc.,
             dated December 12, 2022.
          3) “Slope Stabilization Plans (Issued for Construction)” prepared by GeoStabilization, Inc. (GSI),
             dated December 16, 2022.
          4) “The EDR Aerial Photo Decade Package” prepared by Environmental Data Resources, Inc.
             (EDR), dated December 21, 2022.
          5) “The EDR-City Directory Image Report” prepared by Environmental Data Resources, Inc.
             (EDR), dated December 23, 2022.
          6) Drone Video by City Staff – File Name: DJI_0013, dated February 2022.
          7) “Sawnee Tank Emergency Repair Topographic Exhibit” by Civil Engineering Consultants, Inc.,
               dated February 24, 2023. (West Slope Ground Run Topo).
          8) “Geophysical Letter Report” by Collier Geophysics, LLC, dated March 17, 2023.
          9)    “Preliminary Geotechnical Assessment Report” prepared by Geosystems Engineering, Inc.,
               dated April 5, 2023.
          10) City Tax Map Image Tax Parcel 125 029 – File Name: Sawnee Mountain Tank Feed Line
               Leak – Tax.pdf (showing location of water main), No Date.


     Documents Released by Blount’s Counsel (CABK):

          1) Drone Site Photos (Pre-Failure) by Blount Construction, date March 12, 2021.
          2) Drone Site Photos (Pre-Failure) by Blount Construction, dated April 2022.
          3) Pond No. 3 Site Photos (Pre-Failure) by Blount Construction, dated March 2022.
          4) Ponds No. 1 and 2 Site Phots (Pre-Failure) by Blount Construction, dated May 2022.
          5) Visual Assessment Form – Storm Water Outfall SW-01, SW-02 and SW-03 by Blount
             Construction, dated December 6, 2022 (observation at 9:00 am) (1.5” rain reported)
          6) Site Safety Inspection Report (Post-Failure) by Blount Construction, dated December 14,
             2022
          7) “Boundary & Topographic Survey” by IronStone Surveying, dated May 23, 2023 (Field survey
             on May 8, 2023).


     Additional Information Reviewed by RIO:
          1) Historic Rainfall Data - NCEI/NOAA Station: CUMMING 2 N, GA US USC00092408 –
                 https://www.ncei.noaa.gov/access/past-weather/Cumming%2C Georgia




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          2) PGA Earthquake Motion Parameter for 2% Probability in 50 years - ASCE 7-22 Seismic Tools
             Site
                 https://asce7hazardtool.online/


     2.0 ENGINEERING EVALUATION

     RIO reviewed a number of documents listed under Section1.4 above. RIO also performed preliminary
     slope stability analysis of the slide area to help determine the potential causes of slope failure at the
     Blount’s Asphalt Plant. The sections below provide observations made during the review of the
     information provided, describe areas impacted by the slope failure, and discuss potential causes of
     the slope failure.

     2.1 March 28, 2023 Site Visit

     RIO performed an initial site visit on March 28, 2023 in coordination with Blount’s Legal Counsel
     (CABK). A photographic record of the site visit is provided in Appendix A (Photos 01 to 49). Below
     is a summary of main observations by area made during the site visit:

     Plant Area:

       - A significant amount of sediment came down from the slide area covering and blocking access
         for Plan normal Operations. The Plan was shut down during the site visit (see Photos 01 and 02).

       - The site Office Trailer was damaged by slide material that came down and pushed the trailer out
         of its place. Pine trees penetrated through the trailer walls completely damaging the trailer,
         including a compressed gas tank on the outside within the limits of the slide debris (see Photos
         03 to 10).

       - Two equipment storage trailer containers were flooded with sediment and water from the slide
         area damaging equipment and supplies stored in the trailers (see photos 13 and 14 showing the
         trailers in the background on the right side of the slide area (looking downstream from the top of
         the slide area) of the slide area) (Appendix B provides additional photos obtained during the May,
         8, 2023 site visit).

      South Slope Slide Area:

       - A large volume of material came down the hill from the slide area impacting pre-existing pine trees
         (about 0.4 acres of land) forestation and sending mud and slide debris downstream over the plant
         pavement area and into existing Ponds No. 1, 2 and 3 (see Photos 11 through 14).




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     Ponds No. 1, No. 2 and No.3:

       - Sediment from the slide area washed down the stream together with the 1.3 million gallons of
         water discharged from the two City water storage tanks. Sediment was carried into Ponds No. 1,
         No. 2, and No. 3 impacting their storage capacity (see Photos No. 15 through 26 to see impacts).

       - Discharge from Pond No. 2 through the Outfall SW-01 culvert and overtopping over the access
         driveway to Pond No. 3 washed the road surface base material away (already repaired during the
         site visit per account by Plant Operations Manager) and continued downstream washing and
         eroding the access road surface pavement and cutting deep channels along the roadway (see
         Photos 27 through 39).

       - Sediment was discharged into Pond No. 3 impacting the capacity of the Pond. No discharge of
         sediment was noted downstream from Outfall SW-2 into the adjacent property, and the top of the
         dam crest of Pond No. was not impacted (see Photos 40 through 49).

     2.2 May 8, 2023 Site Visit

     RIO performed a second site visit on May 8, 2023, also in coordination with Blount’s Legal Counsel
     (CABK). City’s Insurance Company Counsel and Insurance Company Expert were also present
     during the site visit. A photographic record of the site visit is provided in Appendix B (Photos 01 to
     68). Below is a summary of main observations by area made during the site visit:

     Tanks South Slopes & Slide Area:

       - During this site visit, the slopes west and right of the slide area, as well as the top of the slide area
         were visited to evaluate the current conditions. Asphalt millings/waste was noted on the surface
         of the slide area debris indicating the presence of some fill over the slide area (see Photos 01
         through 03).

       - The driveway to the tanks on top of the hill has been restored with gravel as part of the repairs
         completed for stabilization of the top of the slide area. Rock outcrops were noted near the crest
         of the slope left of the slide area also showing very steep slopes, the angle of the upper slope
         was measured in the field and was at 42 degrees, or 1.1H:1V. The slope left of the slide area
         (looking down from the top of the slope) looked stable, with no evidence of active ground
         movement/sloughs or tension cracks (see Photos 04 through 06).

       - A 10-foot-high soil nail wall was noted at the top of the slope in the slide area. Drain holes could
         be observed through the wall at about 10-foot apart per design plans prepared by GSI. The
         shotcrete on the wall surface looked reasonably placed with an even surface. No leakage of
         water through the drain pipes or wet surface on the wall of concern were noted during the site
         visit. The top of the wall was leveled with the driveway level (see Photos 07 through 12).

       - The surface of the slide area up on top of the current slope showed exposed stable dense to very
         dense soils (slip surface), all the material above it was washed away downstream with the slide.



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          The exposed material above the slip surface on the slope left of the slide area shows
          approximately 8 to 10 feet of material over the slide slip surface. A thin layer (12 inches or so) of
          asphalt millings/waste fill could be observed on the surface of the slope (see Photos 13 through
          19)

       - The plant office trailer was damaged by slide material that came down and pushed the trailer out
         of its place. Pine trees penetrated through the trailer walls completely damaging the trailer,
         including a compressed gas tank on the outside within the limits of the slide debris (see Photos
         03 to 10).

      Slope Right of Slide Area:

       - A number of Cast Iron Pipe (CIP) driven piles 8 inches in diameter were noted to be installed
         along the lower topographic bench on the south slope below the tank pads. A 12-inch steel I-
         beam was also noted to be driven just below the crest of the second topographic bench above
         the area where the CIP driven piles were noted. These piles appear to have been installed in the
         past (prior to Blount’s acquiring the property per account by Plants’ Maintenance Manager) to
         stabilize an old slide located within the lower part of the south slope. No evidence of slope
         movement or unstable active conditions or tension cracks was noted during the site visit. Only a
         few deep surface water erosion channels were noted extending from the top of the slope downhill
         in the area of the tanks pad (see Photos 20 through 24).

       - Five open (not backfilled) hand auger borings completed by Geosystems were noted on the south
         slope below the tanks pad. Depths to the bottom of the holes varied from 1 to 8 feet deep (HAB-
         5). Open boreholes in slopes can allow water to get into the subsurface and affect the stability of
         the slope, especially in slopes with a low factor of safety against slope failure Asphalt
         millings/waste was also noted on the surface of the slope from the bottom of the slope to the top
         of the slope showing the presence of some fill. This layer appears to have been placed as part
         of erosion protection when the disturbed slopes from previous mining operations were being
         restored (see Photos 25 through 38).

       - Geophysical Line P-1 stakes at the end of the line were noted near the top and toe of the slope
         in the same area as the hand auger borings, and a property line stake was also noted above from
         hand auger boring HAB-1; all hand auger borings were completed within Blount’s property (see
         Photos 39 through 45).

       City Water Main:

       - A watermain vault was noted at the top of the soil nail wall near the left end of the wall. This vault
         appeared to be the old vault present prior to the slope failure. The excavated old watermain
         section of pipe with the slope failure area was noted laying on the ground on the north side
         shoulder of the gravel driveway to the tanks. The excavated sections of pipes, pipe joints and
         elbows appear to be corroded in some areas. Close examination of photos taken during the site
         visit show some corrosion activity expected for a + 50-year-old pipe. A potential pipe crack was



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          also noted in one of the excavated pipes that appear to be associated with the pipe leak;
          unfortunately, Blount staff and/or RIO were not present when the pipes were excavated from the
          slide area to better examine the area of the pipe leak and/or separation of a pipe joint (see Photos
          46 through 54).

     Ponds No. 1, No. 2 and No.3:

       - During the site visit, the area of Ponds No. 1, No.2 and No.3 were also revisited with the City’s
         Insurance Counsel and their expert. Conditions appear to be the same as observed during the
         March 28, 2023 site visit (see Photos 55 through 64).

     Plant Equipment Storage Containers:

       - The slope failure sliding mass and discharge of 1.3 million gallons of water from the City tanks
         also impacted the Plants, equipment storage containers. Sediment and old water marks on the
         walls were noted inside the containers (se Photos 65 through 68).


     2.3 Site Topography and Historic Land Use

     RIO evaluated the topography of the south slope and compared the slope angles of the south slope
     left and right of the slide area within the pre-failure slide area. Both the 2015 topography obtained
     from the Forsyth County GIS Department and the drone and ground run survey (right and left sides
     of slide area) prepared by IronStone Surveying (5/23/2023 Plat) appear to be similar. The complete
     IronStone Surveying Boundary & Topographic Survey dated 5/23/2023 (field survey completed on
     5/8/2023) is included in Appendix C, the pre-failure 2015 GIS topography and the post-failure
     topographic survey topography are shown on Figures 2, with a cross section (Cross Section A-A’)
     across the slide area showing the pre- and post-failure ground surfaces shown in Figure 3. In general,
     the overall slope (crest to toe) was noted to be steeper (32 to 33 degrees, 1.5H:1V) on the left side
     (looking down from the top) of the slide area than the slope (25 degrees, 2H:1V) on the right side; the
     pre-failure overall slope of the slide area was similar to the slope right of the slide area based on the
     2015 GIS topography obtained from Forsythe County. The right slope south of the tanks pad and the
     pre-failure slope of the slide area had a couple of benches about 20 feet wide from about Elev. 1304
     to 1308 for the lower bench, and from about Elev. 1316 to 1324 for the upper bench. The total relief
     of the slope right of the slide area under the tanks pad is about 93 feet high, the slide area is about
     86 feet high, and the slope left of the slide area is about 68 feet.

     The upper slope of the slope south of the tanks pad, the slide area, and the slope left of the slide area
     were noted to have much steeper slopes than the lower portion of the slopes. The upper slope of the
     right slope and the slide area had slopes with an angle of 32o to 33o (1.5H:1V), and the upper slope
     of the slope left of the slide area was noted to have a much steeper slope angle at about 25o
     (1.1H:1V), this slope has exposed rock outcrops along the top of the slope near the crest (see Photos
     05 through 06 in Appendix B). The top of rock appears to be shallower on the slope left of the slide
     area than in the slide area and slope right of the slide area.

     Based on RIO’s field observations during the 5/08/2023 Site Visit, both the slope right of the slide
     area and the slope left of the slide area did not show signs of current instability, although the slope



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     below the tanks right of the slide area had been subject to historic localized instability (e.g., slide and
     scarp noted) that had been stabilized (prior to Blount purchasing the property) with a number of 8-
     inch diameter driven cast iron pipe piles located over the lower bench, and one driven steel beam pile
     located just below the upper bench (see Photos 20 through 24 in Appendix B). Some surface water
     deep erosion channels were also noted on the west slope below the tanks area. A sliver (about 12
     inches thick) of asphalt millings/waste was observed on the slope right of the slide from the crest of
     the slope to the toe of the slope, the same material was also noted over the slope failure sliding mass,
     appearing to have been placed over the final slope for erosion protection as part of slope surface
     stabilization after ground disturbance in the area had stopped prior to Blount acquired the property in
     or about 1984 (based on online review of property ownership tax map records).

     Review of aerial imagery provided in the EDR Reports included in the GeoSystems April 5, 2023
     Report shows that there was mining activity as early as 1964 in the property now owned by Blount.
     Based on available aerial imagery the City water tanks had been constructed by 1981 and as early
     as 1972 (aerial imagery not clear). Blount acquired the property in or about 1984 (based on online
     review of property ownership task map information) from a previous asphalt plant operator (per
     account by Blount’s Operations Manager during the site visit on March 28, 2023). Land
     use/disturbance along the slope south of the tanks pad stopped prior to 1981 (vegetation coverage
     shown on 1981 EDR Imagery), and potentially as early as 1974. Potential ground disturbance activity
     along the south slope south of the tanks and slide area shown on 1988 EDR imagery appears to be
     the result of an overexposed aerial image. Google Earth imagery in 1992 shows that the south slope
     is already covered with vegetation; based on this review no ground disturbance/activity of the south
     slope has occurred for at least 30 years prior to the occurrence of the slope failure during the night of
     December 6, 2022. No issues of instability of the south slope have been reported during this period
     based on available records. The south slope below the tanks pad, slide area, and left of the slide area
     were covered to the crest of the slope with pine trees at least up to 12 inches in diameter.

     2.4 Water Main

     The old watermain that failed in the area of the slope failure was about 50 years old. Ductile Iron
     Pipe (DIP can last up to 100 years depending on site and maintenance conditions). DIP has specific
     failure modes and indicators that the pipe is nearing failure. Corrosion is the primary cause of failure
     for any metallic pipe material. DIP can fail due to internal or external corrosion, pipe movement from
     thermal variations, seismic shifts, or external loading reflected by joint leaks or pipe movement (e.g.,
     ground movement caused by tree roots near or around utility pipes). Loss of soil support and bedding
     can also result in leaks in DIP. Leaks can be identified through acoustic surveys, wet areas, or
     pressure variations. At the time of the preparation of this report there were no maintenance records
     available to review documenting any service/maintenance performed by the City on the pipe.

     Review of videos and photographic records obtained from City’s Counsel shows that a number of
     pine tree stumps were present immediately adjacent to the pipe in the area of the pipe leak, with tree
     roots going over and under the pipe; these pine tree stumps were up to about 12 inches in diameter
     and did not show much decay. Photos extracted from a video taken by City staff the day after the
     slope failure on December 7, 2023 when water was still discharging from the watermain joint
     leak/separation, and after the leak had stopped before the pipes were removed from the excavation
     area are shown on Figures 4 and 5. Pine trees typically decay within 3 to 5 years, and the trees noted
     on the photos appear to have been cut by the City within a year or two, possibly because City
     maintenance staff had concerns with the effect of the pine trees growing adjacent to the aging



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                                       Non-Circular - Short Term Condition – Soil
              Slide Area:                       Saturation - Undrained
               (Fig F-7)                            (With Cohesion)
                                                       Ru = 0.27                                          1.3 to 1.5                   >1.0
                                        (Max. Pore Water Pressure, ɥ = 474.55
                                              psf (up to 6.6 ft of water)
                                              Layers 1 and 2; C = 50 psf)
                                          Non-Circular – Short Term Seismic
              Slide Area:                              Condition,
               (Fig F-8)                            (With Cohesion)                                            1.0                 >1.24
                                               PGAM= 0.14g ; Ah= 0.07g
                                              Layers 1 and 2; C = 50 psf)


     GeoSystems slope stability analysis included in the April 5, 2023 Geotechnical Assessment Report
     was performed for a cross section along the right side of the slide area. The GeoSystems Slope
     Stability Model used only three (3) subsurface layers: fill, residual soils (one single strength), and
     partially weathered rock, with only friction angel (no cohesion). The RIO Model used five (5) different
     subsurface condition layers: fill, three different residual soil layers with different strengths, and PWR.
     The fill and upper residual soil layers used both friction angle and some low cohesion. Friction angles
     were similar for both models with the exception of the fill layer where GeoSystems used a much lower
     friction value (25o vs 32o) compared to the RIOs Model.

     Geosystems identified potential circular slip surfaces with factors of safety of less than one within the
     upper steep slope, and also for a non-circular sliding plane along the interface passing through the
     toe of the slope. Factors of safety of less than one means that the slope should have failed a long
     time ago, at least since 1985, which is not the case. The south slope has been subject to high rainfall
     events (up to 5.4 inches of rain in a day) and earthquake events of up to 4.4 magnitude since 1985
     with no indication of slope instability of the slide area. Pre-failure slide area factors of safety should
     have been at least 1.1 or higher, since no evidence of slope movement/instability (e.g., sloughs or
     tension cracks) has been reported for at least since 1984 when Blount purchased the property. Shear
     strength parameters used by Geosystems for the fill and residual soils do not reflect actual field
     conditions. Laboratory triaxial shear strength test results of a relatively undisturbed Shelby tube
     sample collected from a depth of 5 to 7 feet below the ground surface in boring B-6 in the undisturbed
     residual soil (silty fine to coarse sand with 35% fines (SM) show much higher strength values than
     those used by Geosystems in slope stability analysis (friction angle of 38.7 degrees and cohesion of
     0.73 psi (105 psf), vs the 25 degrees and no cohesion used for the fill, and 34 degrees with no
     cohesion used for the undisturbed residual soils.

     Unless an extreme external loading condition (e.g., excavation along the toe of the slope, surcharge
     at the crest of the slope, or earthquake load), or significant saturation of the soil mass above the slope
     slip surface (circular or non-circular slip surface) reducing the effective shear strength of the soils took
     place, the slope should have maintained a factor of safety of at least 1.1, which is considered to be
     the minimum factor of safety before tension cracks may start developing on a slope before they fail.
     The rainfall event that took place the night of the slope failure was 2.13 inches based on NCEA/NOAA
     Station CUMMING 2 N, GA US USC00092408 located 2.35 miles east of the site, and the maximum
     rainfall event the slope has been subject to in the past has been up to 5.4 inches. For the slope to
     fail the way it failed, the soil mas had to be overly saturated (e.g., by an on-going pipe water leak) by



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     the time the 2.13 inches of rain came on the site on December 6, 2022, the day of the slope failure.
     RIO analysis shows that for the most critical slip surface occurring in the upper part of the slope, an
     average porewater pressure ratio Ru of 0.07 would be required to bring the FOS to one; this would
     be a maximum pressure above the slip surface of about 92.29 psi, or about 1.48 ft of water. For the
     non-circular slip surface the Ru value would be 0.27, or about 475 psf of porewater pressure above
     the slip surface (up to 6.6 feet of water), which would require much longer time for a small leak to
     saturate the soil mass above the slip surface. The slope stability analysis supports the need for a
     sustained external source of water (e.g. watermain leak) to saturate the soil mass up to about 6.6
     feet above the slip surface to move a sliver of soil 8 to 10 feet thick down the hill as reflected in the
     post-failure topographic survey.


     3.0 SUMMARY OF RIO’S PRELIMINARY ENGINEERING EVALUATION
     RIO GeoEngineering, LLC (RIO) has completed a Preliminary Engineering Evaluation of the Blount
     Construction Company, Inc. (Blount) Asphalt Plant Slope Failure at the Cumming Plant located on
     911 Canton Highway, Cumming, Georgia in Forsyth County. The slope failure reportedly occurred
     sometime during the night of December 6, 2022. Approximately 1.3 million gallons of potable water
     were released overnight from two City of Cumming (City) water storage tanks reportedly 500,000-
     and 800,000-gallon capacity located at the top of the hill side on the adjacent property owned by the
     City of Cumming located at 921 Canton Highway.

     A summary of main observations and results of preliminary analysis by RIO are summarized below.

          •    The release of water from the tanks and slope failure impacted approximately 0.4 acres of
               pine tree forested land on the hill side, plant operations paved area and operations access,
               damaged an office trailer, flooded two equipment storage containers, impacted on-site access
               roads to Ponds No. 1, 2 and 3, and discharged washed sediment into Ponds No. 1, 2 and 3
               documented during RIO’s Site Visits on 3/28/2023 and 5/8/2023. As of 5/8/2023 (last site visit
               by Mr. Rafael Ospina with RIO), the plant normal operations were still shut down.

          •    Based on visual observations during the initial assessment, GeoSystems determined that
               there was no risk of slope failure extending towards the eastern most tank in the near future,
               and that even though there was some evidence of previous movement and instability of the
               south slope along the tanks pad, there were not “recent” signs of slope movement and tension
               cracks.

          •    Geosystems has performed periodic slope stability site inspections since the construction of
               the Soil Nail Wall at the top of the slide area and no issues of concern have been identified
               since their initial site visit after the construction of the wall on January 25, 2023 until the
               preparation of their submittal of their final Geotechnical Assessment Report dated April 5,
               2023.


          •    Both the slope to the right (looking down from the top) and left of the slide area do not show
               signs of current instability or ground movement (e.g. tension cracks, localized surface slopes.




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          •    The south slope right and left of the slide area as well as the slide area have not shown signs
               of instability for at least the last 30 years, since Blount acquired the property in 1984.

          •    The City’s Ductile Iron Pipe (DIP) watermain feeding the two water storage tanks on top of the
               hill adjacent to Blounts north property is about 50 years old. Maintenance records of the
               watermain were not available to review for the preparation of this Preliminary Slope Failure
               Assessment Report.

          •    Review of videos and photographs of the slope failure area around the watermain feeding the
               two tanks shows a number of pine tree stumps up to 12 inches in diameter. The pine tree
               stumps did not show significant decay and appeared to have been cut within the last year or
               two. Pine tree roots were noted to be growing over and under the pipe in the area of the pipe
               leak still discharging water the following day after the slope failure that occurred during the
               evening of December 6, 2022.

          •    The watermain was located within 10 feet from the property line below the crest of the slope
               within the area of the slope failure. The slope angle in the upper portion of the south slope
               was at about 1.5H:1V. Minimal soil cover (about 12 inches in thickness) was noted over the
               pipe section that failed, making it susceptible to ground freezing and damaging of the pipe. A
               Soil cover of at least 2.5 to 3 feet is generally recommended for pressure pipes.

          •    Slope stability analysis indicates that the south slope had factors of safety of at least 1.1 prior
               to the slope failure, with no indication of tension cracks and instability. Soils in the slide area
               had to be significantly saturated (up to 1.5 feet of water above the slip surface for the circular
               slip surface, and up to 6.6 feet of water above the non-circular slip surface passing through
               the toe of the slope). It appears the slide mass failed through the toe of the slope (from crest
               to toe), indicating a significant amount of water had to be leaking from the watermain prior to
               the slope failure. The 2.13 inches of rain on the day of the slope failure just contributed to the
               already saturated soil mas.

          •    Review of sections of the aging watermain pipe and joints exhumed from the excavation show
               potential external and internal corrosion, missing bolts at pipe joints, and a potential pipe crack
               associated with a pipe leak. The crack could have also been created when the pipe was
               removed. Blount staff or RIO were not present to examine the pipe before it was removed
               from the excavation.

          •    Review of historic daily rainfall data shows that the south slope area has been subject to up
               to 5.4 inches of rainfall since 1975, much higher than the 2,13 inches of rain on the day of the
               slope failure. At least 10 daily rainfall events have been at least 4 inches since 1975 up to the
               day of the slope failure. No signs of slope movement or development of tension cracks have
               been reported since 1984 when Blount purchased the property, over 30 years ago.

          •    It is RIO’s opinion that Blount Construction Company, Inc. should be fully compensated for
               the damage caused by the slope failure that took place the evening of December 6, 2022, and
               the restoration of the south slope as the pipe was aging and there was not proper maintenance
               on the pipe; including preventing pine trees growing immediately adjacent to the pipe, the pipe




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               showing external and internal corrosion, and bolts missing at pipe joints. It is my expert opinion
               that saturation of the slide area from a pipe leak caused the slope failure.


     4.0 REFERENCES

          •    “Soil Strength and Slope Stability”, by J. Michael Duncan, Stephen G. Wright and Thomas L.
               Brandon, Second Edition, Wiley, p.126, 127 and 183.

          •    Computer Model Slide2 Version 9.024 2D Limit Equilibrium Analysis for Slopes by
               Rocscience.




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                          APPENDIXES


                           Appendix A

            March 28, 2023 R. Ospina Site Visit Photos
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                        01 - 2023 03 28 Site Visit - IMG_E5719.




  02 - 2023 03 28 Site Visit - Slide Sediment Impacted Operations Area - IMG_E5727.
                                 RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




        03 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5720.




        04 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5721.
                               RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




      05 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5722.




   06 - 2023 03 28 Site Visit - Slide & Slide Damaged Office Trailer - IMG_E5723.
                                 RIO GeoEngineering
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                      Blount Construction Cumming Asphalt Plant
     3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




07 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - Operations Access Blocked - IMG_E5728.




               08 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5769.
                                       RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




        09 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5771.




   10 - 2023 03 28 Site Visit - Slide Damaged Compressed Gas Tank - IMG_E5767.
                                 RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




           11 - 2023 03 28 Site Visit - Slide Area Looking Up - IMG_E5725.




   12 - 2023 03 28 Site Visit - Slide Area and City New Soil Nail Wall - IMG_E5726.
                                 RIO GeoEngineering
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                      Blount Construction Cumming Asphalt Plant
     3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




13 - 2023 03 28 Site Visit - Slide Debris on Pavement Area - Plant Operations Impacted - IMG_E5730.




14 - 2023 03 28 Site Visit - Slide Debris on Pavement Area - Plant Operations Impacted - IMG_E5731.

                                       RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
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     15 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5732.




    16 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5729.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
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  17 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5734.




   18 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5733.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   19 - 2023 03 28 Site Visit - Pond No. 1 and No. 2 Separation Berm - IMG_E5735.




     20 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 - IMG_E5736.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
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  21 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 - IMG_E5737.




    22 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 - IMG_E5738.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   23 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 IMG_E5739.




   24 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 IMG_E5740.
                               RIO GeoEngineering
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                   Blount Construction Cumming Asphalt Plant
  3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




25 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 & Outfall SW-02 - IMG_E5741.




26 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 & Outfall SW-02 - IMG_E5742.
                                    RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




27 - 2023 03 28 Site Visit - Ponds No. 1, 2 and 3 Access Driveway Repaired - IMG_E5766.




     28 - 2023 03 28 Site Visit - Pond No. 2 Outfall SW-02 Culvert IMG_E5743.

                                 RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
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29 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5744.




30 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 IMG_E5745.
                                    RIO GeoEngineering
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                   Blount Construction Cumming Asphalt Plant
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31 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 IMG_E5746.




32 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 IMG_E5747.
                                   RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
   3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




33 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5748.




     34 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 .
                                    RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
   3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




35 - 2023 03 28 Site Visit - Slide Sediment Discharge into Channel to Pond No. 3 - IMG_E5752.




36 - 2023 03 28 Site Visit - Slide Sediment Discharge into Channel to Pond No. 3 - IMG_E5753.
                                     RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
   3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




37 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5750.




 38 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3IMG_E5751.
                                    RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 61 of 189

                   Blount Construction Cumming Asphalt Plant
  3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




39 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5754.




     40 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 3 - IMG_E5755.
                                    RIO GeoEngineering
           Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 62 of 189

                      Blount Construction Cumming Asphalt Plant
     3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




41 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 3 & Spillway CMP Riser - IMG_E5756.




 42 - 2023 03 28 Site Visit - Pond No. 3 Spillway CMP Riser & Silt Fence Protection - IMG_E5757.
                                       RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 63 of 189

                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   43 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 3 - IMG_E5758.




         44 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - IMG_E5759.
                                RIO GeoEngineering
          Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 64 of 189

                     Blount Construction Cumming Asphalt Plant
    3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                45 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - IMG_E5760.




46 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - No Sediment from Slide Noted - IMG_E5761.
                                      RIO GeoEngineering
          Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 65 of 189

                     Blount Construction Cumming Asphalt Plant
    3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




47 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - No Sediment from Slide Noted - IMG_E5762.




           48 - 2023 03 28 Site Visit - Pond No. 3 Dam Crest Looking Left - IMG_E5763.
                                      RIO GeoEngineering
     Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 66 of 189

                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   49 - 2023 03 28 Site Visit - Pond No. 3 Dam Crest Looking Left - IMG_E5764.




                                RIO GeoEngineering
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                           Appendix B

             May 8, 2023 R. Ospina Site Visit Photos
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                      01 - Failed Slope Area - IMG_E6366.




                      02 - Failed Slope Area - IMG_E6379.
                             RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 69 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




  03 - Failed Slope Area - Asphalt Millings/Waste on Slope Surface - IMG_E6380.




                   04 - Driveway to City Water Tanks - IMG_E6381.
                                RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 70 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




        05 - Slope Crest Left of Slide Area - Rock OutIcrops - MG_E6382.




       06 - Slope Crest Left of Slide Area - Rock Outcrops - IMG_E6383.
                               RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 71 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                  07 - Soil Nail Wall & Slide Area - IMG_E6389.




                  08 - Soil Nail Wall & Slide Area - IMG_E6390.
                              RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 72 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




               09 - Soil Nail Wall & Slide Area - IMG_E6401.




         10 - Driveway to City Water Tanks Looking Downhill - IMG_E6404.
                              RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 73 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




    11 - Soil Nail Wall & Slide Area - Water Main Vault in Background - IMG_E6405.




                    12 - Soil Nail Wall & Slide Area - IMG_E6406.
                                RIO GeoEngineering
       Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 74 of 189

                  Blount Construction Cumming Asphalt Plant
  5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                        13 - Soil Nail Wall & Slide Area - IMG_E6407.




14 - Slide Area Looking Right - Asphalt Millings/Waste on Right Slope Surface - IMG_E6408.
                                    RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 75 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                     15 - Slide Area Looking Right - IMG_E6409.




 16 - Slide Area Looking Up - Asphalt Millings-Waste on Slope Surface - IMG_E6421.
                                RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 76 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                    17 - Slide Area Looking Up - IMG_E6422.




                    18 - Slide Area Looking Up - IMG_E6439.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                    19 - Slide area Looking Down - IMG_E6438.




       20 - Slope Right of Slide Area - Slope Stabilization CIP Piles - IMG_E6410.
                                RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 78 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   21 - Slope Right of Side Area - Slope Stabilization CIP Driven Piles - IMG_E6411.




   22 - Slope Right of Slide Area - Slope Stabilization DIP Driven Piles - IMG_E6412.
                                 RIO GeoEngineering
     Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 79 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




23 - Slope Right of Slide Area - Slope Stabilization 8" Dia. CIP Driven Piles - IMG_E6413.




 24 - Slope Right of Slide Area - Slope Stabilization 12" Driven Steel Beam - IMG_E6415.
                                   RIO GeoEngineering
         Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 80 of 189

                    Blount Construction Cumming Asphalt Plant
    5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




25 - Hand Auger Boring HAB-5 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6417.




26 - Hand Auger Boring HAB-5 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6418.
                                   RIO GeoEngineering
       Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 81 of 189

                  Blount Construction Cumming Asphalt Plant
  5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




27 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope Surface - IMG_E6419.




   28 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope - IMG_E6420.
                                   RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 82 of 189

                   Blount Construction Cumming Asphalt Plant
   5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




29 - Hand Auger Boring HAB-4 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6423.




30 - Hand Auger Boring HAB-4 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6424.
                                  RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
    5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




31 - Hand Auger Boring HAB-4 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6425.




  32 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope Surface - IMG_E6426.
                                    RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 84 of 189

                    Blount Construction Cumming Asphalt Plant
    5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




 33 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope Surface - IMG_E6427.




34 - Hand Auger Boring HAB-3 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6428.
                                   RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 85 of 189

                   Blount Construction Cumming Asphalt Plant
   5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




35 - Hand Auger Boring HAB-3 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6429.




36 - Hand Auger Boring HAB-2 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6430.
                                   RIO GeoEngineering
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                   Blount Construction Cumming Asphalt Plant
   5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




37 - Hand Auger Boring HAB-2 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6431.




38 - Hand Auger Boring HAB-1 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6432.
                                   RIO GeoEngineering
            Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 87 of 189

                       Blount Construction Cumming Asphalt Plant
       5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




39 - Up Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023 ) - IMG_E6433.




40 - Up Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023 ) - IMG_E6434.
                                        RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




          41 - Slide Area Right Slope - Property Line Stake - IMG_E6435.




42 - Slide Area Right Slope - Property Line Stake HAB Right Slope - IMG_E6436.
                                RIO GeoEngineering
             Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 89 of 189

                        Blount Construction Cumming Asphalt Plant
        5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




           43 - Slide Area Right Slope - Property Line Stake HAB Right Slope - IMG_E6437.




44 - Down Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023) - IMG_E6440.
                                         RIO GeoEngineering
             Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 90 of 189

                       Blount Construction Cumming Asphalt Plant
       5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




45 - Down Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023) - IMG_E6441.




                                 46 - City Water Main Vault - IMG_E6388.
                                        RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 91 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                   47 - City Water Main Vault - IMG_E6394.




                   48 - City Water Main Vault - IMG_E6392.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




             49 - City Water Main Leak Excavated Pipe - IMG_E6395.




            50 - City Water Main Leak Excavated Pipe - IMG _E6396.
                             RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 93 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




             51 - City Water Main Leak Excavated Pipe - IMG_E6397.




            52 - City Water Main Leak Excavated Pipe - IMG_E6398.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




             53 - City Water Main Leak Excavated Pipe - IMG_E6399.




               54 - Water Main Leak Excavated Pipe - IMG_E6400.
                             RIO GeoEngineering
          Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 95 of 189

                     Blount Construction Cumming Asphalt Plant
     5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




55 - Ponds No. 1, 2, and 3 Access Driveway - Repaired Flood Damaged Road Surface - IMG_E6367.




         56 - Ponds No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6368.
                                    RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   57 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6369.




   58 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6370.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   59 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6371.




   60 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6372.
                              RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




               61 - Pond No. 3 Access Driveway-Crest IMG_E6373.




              62 - Pond No. 3 Access Driveway-Crest - IMG_E6374.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




              63 - Pond No. 3 Access Driveway-Crest - IMG_E6375.




              64 - Pond No. 3 Access Driveway-Crest - IMG_E6376.
                             RIO GeoEngineering
   Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 100 of 189

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




            65 - Flooded Equipment Storage Containers - IMG_E6377.




            66 - Flooded Equipment Storage Containers - IMG_E6378.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




            67 - Flooded Equipment Storage Containers - IMG_E6442.




            68 - Flooded Equipment Storage Containers - IMG_E6443.
                             RIO GeoEngineering
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                            Appendix C

          May 8, 2023 Boundary and Topographic Survey
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                            Appendix D

                 Record Review Select Site Photos
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          BLOUNT CONSTRUCTION CUMMING ASPHALT PLANT

                 2021 and 2022 PRE-FAILURE PHOTOS
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 Blount Construction Cumming Asphalt Plant Records Select Photos -
                   Project Number CABKA-23-GA




01 - 2021 03 12 Pre-Slope Failure Aerial Photo - DJI_0126 - By Blount Construction




 02 - 2021 03 12 Pre-Slope Failure Aerial Photo - DJI_0131 - By Blount Construction
                              RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




03 - 2021 03 12 Pre-Slope Failure Aerial Photo - DJI_0162 - By Blount Construction




04 - 2022 04 Pre-Slope Failure Aerial Photo - 202DJI_0277 - By Blount Construction
                               RIO GeoEngineering
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          BLOUNT CONSTRUCTION CUMMING ASPHALT PLANT

                2022 and 2023 POST-FAILURE PHOTOS
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Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




                01 - 2022 12 07 SM Video 1 - by City Staff.
                           RIO GeoEngineering
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Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




                02 - 2022 12 07 SM Video 1 - by City Staff.
                           RIO GeoEngineering
Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 113 of 189

Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




                03 - 2022 12 07 SM Video 1 - by City Staff.
                           RIO GeoEngineering
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Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




                 04 - 2022 12 08 - 09 - by GeoSystems.




                 05 - 2022 12 08 - 09 - by GeoSystems.
                          RIO GeoEngineering
  Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 115 of 189

  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




                       06 - 2022 12 08 - 09 - by GeoSystems.




07 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                               RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




08 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




09 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




 10 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




11 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                 RIO GeoEngineering
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    Blount Construction Cumming Asphalt Plant Records Select Photos -
                      Project Number CABKA-23-GA




12 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




13 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight.
                                 RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




14 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




15 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




16 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




17 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




18 - 2023 Jan-Feb DJI_0013.MP4. - After Soil Nail Wall Construction City Drone Flight




19 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
   Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 122 of 189

   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




20 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




21 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                 RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




22 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




23 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




24 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




25 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




26 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




                               RIO GeoEngineering
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                            Appendix E

                 1975 – 2023 Historic Rainfall Data
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                                                   Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 128 of 189
U.S. Department of Commerce                                                                                                                                                       National Centers for Environmental Information
                                                                                                 Record of Climatological
National Oceanic & Atmospheric Administration                                                                                                                                                                 151 Patton Avenue
                                                                                                      Observations
National Environmental Satellite, Data, and Information Service                             These data are quality controlled and may not                                                       Asheville, North Carolina 28801

Current Location: Elev: 1140 ft. Lat: 34.2286° N Lon: -84.1281° W                             be identical to the original observations.
                                                                                                      Generated on 05/18/2023
Station: CUMMING 2 N, GA US USC00092408                                                                                                                Observation Time Temperature: 0730 Observation Time Precipitation: 0730
                                            Temperature (F)                                  Precipitation                            Evaporation                               "Soil Temperature (F)"
                                    "24 Hrs. Ending at                          24 Hour Amounts Ending at            At Obs.                                      4 in. Depth                            8 in. Depth
    Y          M                    Observation Time"                               Observation Time                  Time
    e          o           D                                                                                                      24 Hour
               n           a                                                                                        Snow, Ice
    a                                                           At           Rain,      F                    F       Pellets,      Wind   Amount of
    r          t           y                                   Obs.                            Snow, Ice                         Movement Evap. (in)    Ground                               Ground
               h                     Max.          Min.                     Melted      l       Pellets,     l       Hail, Ice                           Cover       Max.          Min.       Cover         Max.        Min.
                                                                           Snow, Etc.   a                    a          on          (mi)
                                                                              (in)      g       Hail (in)    g       Ground                             (see *)                              (see *)
                                                                                                                       (in)
     2022          12          01           61            28          33         0.00                 0.0                  0.0
     2022          12          02           55            31          40         0.00                 0.0                  0.0
     2022          12          03           56            31          52         0.00                 0.0                  0.0
     2022          12          04           59            40          43         0.16                 0.0                  0.0
     2022          12          05           58            43          46         0.00                 0.0                  0.0
     2022          12          06           58            46          47         2.13                 0.0                  0.0
     2022          12          07           58            43          53         0.11                 0.0                  0.0
     2022          12          08           67            53          63         0.00                 0.0                  0.0
     2022          12          09           71            61          62         0.10                 0.0                  0.0
     2022          12          10           63            50          50         0.62                 0.0                  0.0
     2022          12          11           64            48          53         0.00                 0.0                  0.0
     2022          12          12           63            49          51         0.30                 0.0                  0.0
     2022          12          13           51            44          49         0.00                 0.0                  0.0
     2022          12          14           49            42          42         0.00                 0.0                  0.0
     2022          12          15           46            41          46         2.03                 0.0                  0.0
     2022          12          16           53            35          35         0.00                 0.0                  0.0
     2022          12          17           48            35          42         0.00                 0.0                  0.0
     2022          12          18           45            30          34         0.00                 0.0                  0.0
     2022          12          19           43            24          26         0.00                 0.0                  0.0
     2022          12          20           48            26          40         0.00                 0.0                  0.0
     2022          12          21           45            23          31         0.00                 0.0                  0.0
     2022          12          22           41            24          26         0.00                 0.0                  0.0
     2022          12          23           41            13          13         0.17                 0.0                  0.0
     2022          12          24           41             4           7         0.00                 0.0                  0.0
     2022          12          25           23             7          19         0.00                 0.0                  0.0
     2022          12          26           33            19          26         0.00                 0.0                  0.0
     2022          12          27           50            26          41         0.00                 0.0                  0.0
     2022          12          28           55            26          37         0.00                 0.0                  0.0
     2022          12          29           54            34          53         0.00                 0.0                  0.0
     2022          12          30           63            35          49         0.00                 0.0                  0.0
     2022          12          31           64            38          51         0.00                 0.0                  0.0
                        Summary             52            34                     5.62                 0.0
Empty, or blank, cells indicate that a data observation was not reported.
*Ground Cover: 1=Grass; 2=Fallow; 3=Bare Ground; 4=Brome grass; 5=Sod; 6=Straw mulch; 7=Grass muck; 8=Bare muck; 0=Unknown
"s" This data value failed one of NCEI's quality control tests.      "At Obs." = Temperature at time of observation
"T" values in the Precipitation or Snow category above indicate a "trace" value was recorded.
"A" values in the Precipitation Flag or the Snow Flag column indicate a multiday total, accumulated since last measurement, is being used.
Data value inconsistency may be present due to rounding calculations during the conversion process from SI metric units to standard imperial units.
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           1975 - 2023 Historic High Rainfall Data Above 12/06/2022 Rainfall Event (2.13 Inches)
                    NCEI (NOAA) Station: CUMMING 2 N, GA US USC00092408

                                                Rainfall             Snow
                                Date          Precipitation       Pecipitation
                                                (inches)           (inches)
                                  2/3/1982          5.4                0
                                  7/9/2022          5.4                0
                                 9/17/2004         5.22                0
                                 6/24/1980         5.06                0
                                 3/17/1990           5                 0
                                 3/30/1977         4.67                0
                                 9/22/2009         4.45                0
                                 10/9/1977         4.25                0
                                 12/6/1983          4.2                0
                                 9/25/1997          4.2                0
                                12/28/2018           4
                                11/11/2009         3.87                0
                                11/16/2006         3.84                0
                                 9/21/2021         3.76                0
                                 7/31/2001         3.72                0
                                  3/6/2003          3.7                0
                                 7/24/1997         3.67                0
                                 10/5/1995         3.65                0
                                  1/6/2009         3.65                0
                                 9/17/2020         3.65                0
                                  7/2/2003          3.5                0
                                  1/4/2023          3.5                0
                                 9/12/1988          3.4                0
                                 4/13/1979         3.37                0
                                 1/12/1993         3.37                0
                                  8/8/2005         3.37                0
                                 3/16/1976         3.32                0
                                  4/7/2014          3.3
                                10/16/2002         3.25                0
                                  7/7/2005         3.25                0
                                 10/2/2012         3.25
                                10/11/1999         3.23                0
                                 5/27/1981         3.21                0
                                10/26/1997         3.21                0
                                11/19/2003         3.21                0
                                  5/5/2013         3.21
                                 5/19/2013          3.2
                                  4/9/1998         3.19                0
                                11/13/2018         3.17
                                  7/3/2015         3.11
                                 7/11/2005         3.06                0
                                 4/19/2019         3.05                0
                                12/17/1992         3.04                0
                                 10/1/1989         3.02                0
                                11/22/1991         2.99                0
                                 8/20/1998         2.94                0
                                 8/27/1995         2.91                0
                                 10/4/1995         2.91                0


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           1975 - 2023 Historic High Rainfall Data Above 12/06/2022 Rainfall Event (2.13 Inches)
                    NCEI (NOAA) Station: CUMMING 2 N, GA US USC00092408

                                                Rainfall             Snow
                                Date          Precipitation       Pecipitation
                                                (inches)           (inches)
                                 8/26/2008         2.89                0
                                 9/23/2003         2.87                0
                                 4/16/2011         2.86
                                 8/23/2015         2.86
                                  3/6/1983         2.83                0
                                 9/22/1989         2.81                0
                                 2/26/1992         2.81                0
                                  3/7/1996         2.81                0
                                 10/4/2015         2.81                0
                                 7/23/1988          2.8                0
                                 8/21/2010          2.8                0
                                10/11/2018         2.75
                                 2/11/1981         2.74                0
                                  3/8/1998         2.72                0
                                  4/4/1998         2.71                0
                                 3/13/1976          2.7                0
                                  8/5/1978          2.7                0
                                 4/23/2018          2.7                0
                                10/26/1977         2.68                0
                                 8/19/2013         2.61
                                 4/28/1997         2.58                0
                                 4/12/1988         2.52                0
                                 3/25/1994         2.52                0
                                 11/6/1977          2.5                0
                                 2/13/2014          2.5               2.5
                                  5/2/2017          2.5                0
                                 10/2/1989         2.49                0
                                10/30/1993         2.49                0
                                 9/12/2017         2.48                0
                                 11/5/1977         2.46                0
                                 8/17/1994         2.46                0
                                 3/10/2011         2.45
                                  3/6/1996         2.43                0
                                 1/20/2002         2.42                0
                                 11/2/2015         2.41
                                  9/7/2004          2.4
                                12/11/2008         2.38                0
                                 9/21/2002         2.37                0
                                 8/30/2005         2.36                0
                                 1/21/1979         2.35                0
                                  9/4/2001         2.35
                                 12/5/2002         2.35                0
                                 1/19/1987         2.34                0
                                 7/16/1978         2.33                0
                                 5/15/1976         2.32                0
                                 3/21/1980         2.32                0
                                 8/14/2005         2.32                0
                                  6/9/1996          2.3                0


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           1975 - 2023 Historic High Rainfall Data Above 12/06/2022 Rainfall Event (2.13 Inches)
                    NCEI (NOAA) Station: CUMMING 2 N, GA US USC00092408

                                                Rainfall             Snow
                                Date          Precipitation       Pecipitation
                                                (inches)           (inches)
                                 7/11/2003          2.3                0
                                11/19/2015          2.3
                                 2/21/2019          2.3                0
                                  2/4/2022          2.3                0
                                 3/21/2006         2.29                0
                                10/10/1986         2.28                0
                                  9/8/2004         2.28                0
                                10/12/2009         2.28                0
                                 1/10/1977         2.25                0
                                11/27/1993         2.25                0
                                10/28/2009         2.25                0
                                  6/1/2014         2.25
                                 1/25/1990         2.24                0
                                  2/4/1998         2.22                0
                                 2/11/2020         2.22                0
                                 9/29/1980         2.21                0
                                11/24/1983         2.21                0
                                12/12/1983         2.21                0
                                  3/4/1979          2.2                0
                                12/24/2015          2.2
                                 2/25/2016          2.2
                                  9/3/2016          2.2
                                 12/9/2018          2.2
                                 9/30/1998         2.17                0
                                 8/27/2008         2.17                0
                                12/12/1982         2.16                0
                                11/16/2002         2.16                0
                                 1/31/2013         2.16
                                 5/29/1976         2.15                0
                                  3/3/2012         2.15
                                 12/6/2022         2.13                0




                                             RIO GeoEngineering
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                            Appendix F

                      Slope Stability Analysis
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                Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 145 of 189
                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-1
                       FORSYTH COUNTY, GEORGIA
                                                                                                                NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                        ELEVATION (feet): 1388
                                                                                                                the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/29/2022                             BORING DEPTH (feet): 15                                    water measured at the end of day (NGWM).
                                                     WATER
DRILLER: KILMAN BROS., INC.                          LEVEL      TOB (feet): NGWE         24HR (feet): NGWM
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                 STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                      N VALUE
DEPTH




                                                                                                                            (blows/ft)
(feet)




                                                                                            (feet)
                                                                                             ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                  2   3 4 56      10    20 30 40 60 80
   0               POSSIBLE FILL: Loose tan brown silty fine to coarse SAND (SM), rock        1388
                   fragments, moist
                                                                                                        7
                   RESIDUUM: Medium dense tan pinkish brown silty fine to medium
                   SAND (SM)
   5                                                                                          1383    27



                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white slightly                50/2"
                   micaceous silty fine to coarse SAND (SM), rock fragments

  10                                                                                          1378   50/4"




  15                                                                                          1373   50/1"
                   Boring terminated at 15 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                                 JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-6
                       FORSYTH COUNTY, GEORGIA
                                                                                                               NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                         ELEVATION (feet): 1389
                                                                                                               the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                              BORING DEPTH (feet): 48                                  water measured at the end of day (NGWM).
                                                      WATER
                                                                                                               3. Undisturbed sample collected from offset
DRILLER: KILMAN BROS., INC.                           LEVEL      TOB (feet): NGWE            24HR (feet): NGWM auger boring 3 feet north of B-6.
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                      STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                            N VALUE
DEPTH




                                                                                                                                 (blows/ft)
(feet)




                                                                                                 (feet)
                                                                                                  ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                       2   3 4 56   10     20 30 40 60 80
   0               POSSIBLE FILL: Loose red brown silty fine to coarse SAND (SM), rock             1389
                   fragments, moist
                                                                                                              8
                   RESIDUUM: Stiff tan pinkish brown sandy SILT (ML), moist

   5                                                                                               1384     12
                   Medium dense silty fine to coarse SAND (SM)

                   Undisturbed sample (Shelby Tube) 5' to 7'
                                                                                                            16
                   Medium dense tan white slightly micaceous silty fine to medium SAND
                   (SM)
  10                                                                                               1379     23




                   Dense white tan fine to coarse SAND (SW)

  15                                                                                               1374     42




                   Dense pinkish white slightly silty fine to coarse SAND (SW), rock
                   fragments
  20                                                                                               1369     44




                   Medium dense white pinkish tan silty fine to coarse SAND (SM)

  25                                                                                               1364     17




                   Dense tan brown slightly micaceous silty fine to coarse SAND (SM), rock
                   fragments
  30                                                                                               1359     34




  35                                                                                               1354     48




                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                                                                                                           50/3"
                   fine to coarse SAND (SM), rock fragments
  40                                                                                               1349

GEOSYSTEMS ENGINEERING, INC.                                                                                                                   JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-6
                       FORSYTH COUNTY, GEORGIA
                                                                                                       NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                           ELEVATION (feet): 1389
                                                                                                       the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                                BORING DEPTH (feet): 48                        water measured at the end of day (NGWM).
                                                        WATER
                                                                                                       3. Undisturbed sample collected from offset
DRILLER: KILMAN BROS., INC.                             LEVEL     TOB (feet): NGWE   24HR (feet): NGWM auger boring 3 feet north of B-6.
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                              STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                    N VALUE
DEPTH




                                                                                                                         (blows/ft)
(feet)




                                                                                         (feet)
                                                                                          ELEV
           LOG




                                               GEOLOGIC DESCRIPTION
                                                                                                               2   3 4 56   10     20 30 40 60 80
                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                   fine to coarse SAND (SM), rock fragments



  45                                                                                       1344    50/5"




                   Auger refusal at 48 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                           JOB NO. 22-2875
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May 2023                                                                  Blount Construction Cumming Asphalt Plant Slope Failure Evaluation                                                                 CABKA‐23‐GA‐1045‐01
                                                                                                  Cumming, GA



  BORING =             B‐1       GW Elev. (ft‐msl) = 1372.0 (< 1373.0)                                            GW Depth (ft) = 16                       (> 15 ft)
                                  GS Elev. (ft‐msl)= 1388.0                                         SPT Hammer Energy Rating (%)= 83                       Automatic ‐ CME‐550X (Kilman Bros)


                                                                                    SPT      ɸ'                                                             SANDS
   Layer                                    SPT       SPT                                                 ɣt        ɣ'     Δσ'o              σ'o                        Vs
              Depth (ft)       SOIL
                                   1
                                                 1           Cn         SPT        N1_60 (Median)                                                             ɸ'
    No.                                  N Value      N60                                               (pcf)     (pcf)    (psf)                                       (ft/s)
                                                                    N1_60 Value    Value   (Peck)                                                           (Peck)
                                           (bpf)     Value                                                                                                                                            SPT N1‐60 Values
                                                                                  (Median)                                           (psf)         (psi)
                                                                                                                                                                                                  1     10      100   1000
                                                                                                                                                                                             0
    1       0      ‐     3      SM          7        10      1.50      15             15       32        115      115      86.25    86.25          0.6       32        567
    2       3      ‐     7      SM         27        37      1.50      56             56       42        130      130       345      431           3.0       42        817
                                                                                                                                                                                             10
    3       7      ‐     10     SM         300       415     1.45      602                               135      135       520      951           6.6       45        1565
    4       10     ‐     15     SM         150       208     1.21      252          602        45        135      135       405     1356           9.4       45        1298
    5       15     ‐     15     SM         600       830     0.99      824                               135      135       675     2031           14.1      45        1887                  20
                              BT @ 15'
                                                                                                                                                                                             30


                                                                                                                                                                                             40
                                                                                                                                                 Fill        32        567
                   FILL                                                                                                                        Residual      42        817                   50
                   ALLUVIUM                                                                                                                     PWR          45        1583
                   RESIDUUM                                                                                                                                                                  60




                                                                                                                                                                                Depth, ft
                   PWR
                                                                                                                                                                                             70
           BT ‐ Boring Terminated
           AR ‐ Auger Refusal                                                                                                                                                                80
           PWR ‐ Partially Weathered Rock
                                                                         0.27
           Vs ‐ Shear Wave Velocity (Imai & Tonouchi (1982) ‐ Vs= 93.7N60 in m/sec)                                                                                                          90


                                                                                                                                                                                            100
           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐ Geotechnical Assesment Report dated April 5, 2023, Geosystems                                110
              Project No. 22‐2875.
                                                                                                                                                                                            120


                                                                                                                                                                                            130




                                                                                                 RIO GeoEngineering
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May 2023                                                                  Blount Construction Cumming Asphalt Plant Slope Failure Evaluation                                                                 CABKA‐23‐GA‐1045‐01
                                                                                                   Cumming, GA



  BORING =             B‐6       GW Elev. (ft‐msl) = 1339.0 (< 1340.0)                                            GW Depth (ft) = 49                       (> 48 ft)
                                  GS Elev. (ft‐msl)= 1388.0                                         SPT Hammer Energy Rating (%)= 83                       Automatic ‐ CME‐550X (Kilman Bros)


                                                                                   SPT      ɸ'                                                              SANDS
   Layer                                    SPT      SPT                                                  ɣt        ɣ'     Δσ'o              σ'o                        Vs
              Depth (ft)       SOIL
                                   1
                                                            Cn         SPT        N1_60 (Median)                                                              ɸ'
    No.                                  N Value1    N60                                                (pcf)     (pcf)    (psf)                                       (ft/s)
                                                                   N1_60 Value    Value   (Peck)                                                            (Peck)
                                           (bpf)    Value                                                                                                                                             SPT N1‐60 Values
                                                                                 (Median)                                            (psf)         (psi)
                                                                                                                                                                                                  1     10      100   1000
                                                                                                                                                                                             0
    1       0      ‐     3      SM          8       11      1.50       17             17       33        115      115      86.25    86.25          0.6       33        588
    2       3      ‐     8      ML         12       17      1.50       25             25       28        120      120       345      431           3.0       35        656
                                                                                                                                                                                             10
    3       8      ‐     13     SM         23       32      1.39       44                                126      126       600     1031           7.2       40        782
    4       13     ‐     18     SW         42       58      1.10       64             57       42        130      130       630     1661           11.5      44        920
    5       18     ‐     23     SW         44       61      0.93       57                                130      130       650     2311           16.1      42        932                   20
    6       23     ‐     28     SM         17       24      0.82       19                                116      116       650     2961           20.6      33        721
                                                                                      27       36                                                                                            30
    7       28     ‐     33     SM         34       47      0.75       35                                122      122       580     3541           24.6      38        869
    8       33     ‐     38     SM         48       66      0.69       46             46       40        126      126       610     4151           28.8      40        954
    9       38     ‐     43     SM         200      277     0.65       179                               135      135       630     4781           33.2      45        1403                  40
    10      43     ‐     48     SM         120      166     0.61       101          179        45        130      130       675     5456           37.9      45        1222
    11      48     ‐     48     SM         600      830     0.57       475                               135      135       650     6106           42.4      45        1887                  50
                              AR @ 48'
                                                                                                                                                                                             60




                                                                                                                                                                                Depth, ft
                                                                                                                                                                                             70
                                                                                                                                                 Fill         33       588
                   FILL                                                                                                                        Residual       40       863                   80
                   ALLUVIUM                                                                                                                     PWR           45       1504
                   RESIDUUM                                                                                                                                                                  90
                   PWR
                                                                                                                                                                                            100
           BT ‐ Boring Terminated
           AR ‐ Auger Refusal
                                                                                                                                                                                            110
           PWR ‐ Partially Weathered Rock
                                                                         0.27
           Vs ‐ Shear Wave Velocity (Imai & Tonouchi (1982) ‐ Vs= 93.7N60 in m/sec)
                                                                                                                                                                                            120


                                                                                                                                                                                            130
           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐ Geotechnical Assesment Report dated April 5, 2023, Geosystems
              Project No. 22‐2875.




                                                                                                 RIO GeoEngineering
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May 2023                                                                                 CABKA‐23‐GA‐1045‐01
                                               Seismic Site Class
                                  Blount Construction Cumming Asphalt Plant
                                                 Cumming, Ga


                                              N‐Values (N60)
              Depth     B‐1                                                     Average N‐Value    di/Ni
            0 to 3      10                                                             10          0.30
            3 to 8      37                                                             37          0.14
            8 to 13     100                                                           100          0.05
            13 to 18    100                                                           100          0.05
            18 to 23    100                                                           100          0.05
            23 to 28    100                                                           100          0.05
            28 to 33    100                                                           100          0.05
            33 to 38    100                                                           100          0.05
            38 to 43    100                                                           100          0.05
            43 to 48    100                                                           100          0.05
            48 to 53    100                                                           100          0.05
            53 to 58    100                                                           100          0.05
            58 to 63    100                                                           100          0.05
            63 to 68    100                                                           100          0.05
            68 to 73    100                                                           100          0.05
            73 to 78    100                                                           100          0.05
            78 to 83    100                                                           100          0.05
            83 to 88    100                                                           100          0.05
            88 to 93    100                                                           100          0.05
            93 to 98    100                                                           100          0.05
            98 to 100   100                                                           100          0.02
           100 to 100   100                                                           100          0.00
                to                                                       100          100          0.00
                to                                                       100          100          0.00

                                                                               Sum of(di/Ni)        1.4
                                                                               N‐bar =             73.8
                                                                               Site Class =          C



           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐
           Geotechnical Assesment Report dated April 5, 2023, Geosystems, Project No. 22‐2875.




                                             RIO GeoEngineering                                   Page 1 of 2
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May 2023                                                                                 CABKA‐23‐GA‐1045‐01
                                               Seismic Site Class
                                  Blount Construction Cumming Asphalt Plant
                                                 Cumming, Ga


                                              N‐Values (N60)
              Depth     B‐6                                                     Average N‐Value    di/Ni
            0 to 3      11                                                             11          0.27
            3 to 8      17                                                             17          0.29
            8 to 13     32                                                             32          0.16
            13 to 18    58                                                             58          0.09
            18 to 23    61                                                             61          0.08
            23 to 28    24                                                             24          0.21
            28 to 33    47                                                             47          0.11
            33 to 38    66                                                             66          0.08
            38 to 43    100                                                           100          0.05
            43 to 48    100                                                           100          0.05
            48 to 53    100                                                           100          0.05
            53 to 58    100                                                           100          0.05
            58 to 63    100                                                           100          0.05
            63 to 68    100                                                           100          0.05
            68 to 73    100                                                           100          0.05
            73 to 78    100                                                           100          0.05
            78 to 83    100                                                           100          0.05
            83 to 88    100                                                           100          0.05
            88 to 93    100                                                           100          0.05
            93 to 98    100                                                           100          0.05
            98 to 100   100                                                           100          0.02
           100 to 100   100                                                           100          0.00
                to                                                       100          100          0.00
                to                                                       100          100          0.00

                                                                               Sum of(di/Ni)        1.9
                                                                               N‐bar =             52.6
                                                                               Site Class =          C



           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐
           Geotechnical Assesment Report dated April 5, 2023, Geosystems, Project No. 22‐2875.




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Seismic                               C - Very Dense Soil and Soft Rock



Site Soil Class:
Results:

       PGA M :                        0.14                  TL :                 12
       S MS :                         0.29                  SS :                 0.28
       S M1 :                         0.13                  S1 :                 0.098
       S DS :                         0.19                  V S30   :            530
       S D1 :                         0.085


Seismic Design Category: B



                     Multi-Period MCER Spectrum                              Multi-Period Design Spectrum




                     Sa (g) vs T(s)                                          Sa (g) vs T(s)




                     Two-Period MCE R Spectrum                               Two-Period Design Spectrum




                     Sa (g) vs T(s)                                          Sa (g) vs T(s)




                 MCER Vertical Response Spectrum                               Design Vertical Response Spectrum
Vertical ground motion data has not yet been made             Vertical ground motion data has not yet been made
available by USGS.                                            available by USGS.



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Data Accessed:                  Wed May 24 2023
Date Source:
USGS Seismic Design Maps based on ASCE/SEI 7-22 and ASCE/SEI 7-22 Table 1.5-2. Additional data for
site-specific ground motion procedures in accordance with ASCE/SEI 7-22 Ch. 21 are available from USGS.




https://asce7hazardtool.online/               Page 3 of 4                            Wed May 24 2023
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The ASCE 7 Hazard Tool is provided for your convenience, for informational purposes only, and is provided “as is” and without warranties of
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or has been extrapolated from maps incorporated in the ASCE 7 standard. While ASCE has made every effort to use data obtained from
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                        EXHIBIT 2
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                                                                                                                          6025 Matt Highway
                                                                                                                         Cumming, GA 30028
                                                                                                                        770.888.2224 OFFICE
                                                                                                                           678.947.3672 FAX



                                                                                                                   Proposal
Blount Construction Pond Cleanout
DATE: 02/20/2023
SCOPE OF WORK: Demo office trailer and Conex, clean silt as far as excavator can reach up the slope, Pump
water into temp pond, Clean out upper and lower ponds, regrade access road and install 6 Check dam stones,
freshen up rip rap pads


 General Conditions                                                        LS                           $43,312.50

 Clearing/ Hauling Tree Debris                                             LS                           $29,217.00

 Demo                                                                      LS                           $137,062.50

 Upper Pond Clean out                                                      LS                           $91,950.00

 Lower Pond Clean out                                                      LS                           $88,800.00

 Regrade Access Road                                                       LS                           $6,300.00

                                                                                              Total     $396,642.00




NOTES:
Proposal based upon removal of 5,000 CY of total dirt or less.
Proposal pricing is valid until March 20, 2023
Earthwork calculations based on google maps
Excludes all permits, fees, and testing.
Excludes any replacement of cultivated soils, if required.
Excludes any abatement or asbestos testing.
Excludes removal of any hazardous material or remediation.
Excludes any utility relocates required due to utilities conflicts.
Excludes all site amenities, sidewalks, fencing, guardrails - By Others
Excludes erosion control maintenance after mass grading and utilities are complete.
Excludes all topsoil placement, landscaping, pond plantings and permanent grassing.
Excludes NPDES monitoring.
Excludes soils or concrete testing.
If existing conditions represented by plans or details differ from field conditions additional charges may apply
The proposal will require updating based on agreed upon start date, milestone dates, and completion date.
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                                                                 Tuesday, February 21, 2023

Mr. Bob Cathcart
Blount Construction Company
1730 Sands Place
Marietta, GA 30067
(770) 541-7333

RE:    Blount Cumming Plant

Dear Mr. Cathcart:

Thank you for the opportunity to quote the above referenced project. Reeves Young is
bidding as a Grading and Utility Subcontractor. Attached is our bid report and takeoff for
your review. Prices are based upon the following contract documents and various E-
mail correspondences.

                Drawings:         N/A
                Specifications:   N/A
                Addenda:          N/A
                Reports:          N/A
                Other:            Site Visit 02/13/2023

Prices include furnishing of all management, supervision, labor, equipment, and
material necessary for construction.


                Item                  Description                 Amount
                  1     Demolition                                  $58,588.00
                  2     Erosion Control                             $11,427.00
                  3     Earthwork                                  $341,249.00
                  9     Base Bid - Total
                                                                  $411,264.00


Qualifications and Clarifications:
1. Schedule and pricing is based upon a 50 hour work week.
2. Limited erosion control is included in this pricing, we will not be responsible for silt
   leaving the site.
3. This proposal assumes that onsite soils are suitable for structural backfill (Excavation
   can be placed back without soil conditioning or that we will not have to haul dirt from
   other portions of the site to backfill).

45 Peachtree Industrial Boulevard, NW, Suite 200          770.271.1159
Sugar Hill, GA 30518                                      reevesyoung.com
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4. Pricing is based upon a classified site.
5. Proposal is based upon all scopes of work being accepted. Individual scope prices
    may change if entire proposal is not awarded.
6. Our work is warranted for one year from installation for materials and workmanship.
7. Pricing is subject to change based on approved plans and specifications.
8. Ponds will be mucked out from what can be reached from the bank of the pond.
    Dredging of the entire pond is not included in this pricing.
9. Water from pond 1 will be removed via Hydrovac truck and will not be pumped
    downhill.
10. We will only clean up to the bottom of the previous slope limits. Slope rehabilitation is
    not included in this pricing.

Exclusions:
1. Payment and performance bonds
2. Maintenance bonds
3. Permits and associated fees / cost
4. Easements and associated fees / cost
5. Unforeseen conditions, unsuitable soils, rock including mass, trench and rippable,
    below grade debris and trash.
6. Fill materials for the above conditions.
7. We have excluded all dewatering.
8. Utility impact fees / cost
9. Utility meter fees / cost
10. Utility tap fees / cost
11. NPDES permitting and compliance
12. Trench drains

This proposal and associated pricing is valid for forty five (45) days.

If you have any questions or require any additional information, please do not hesitate to
contact us at (770) 271-1159 or via email at jwarrington@reevesyoung.com.

Sincerely,
Reeves Young, LLC

Jeremy Warrington
Jeremy Warrington
Preconstruction – Heavy Civil

cc:     William Reeves, Executive Vice President



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  Daniel Farley, Director of Preconstruction – Heavy Civil




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                                                                Blount Cumming Plant
                                                                                 2/21/2023


      BID ITEM       ACTIVITY DESCRIPTION                            QUANTITY UNIT
       10 DEMOLITION
           024109    DEMO - TRAILER                                      1.000 LSUM
           024103.05 DEMO - CONEX BOXES                                  2.000 EACH
           311110    DEMO - CLEARING AND GRUBBING - MASS                 1.000 LSUM

                       DEMOLITION TOTAL                              $     58,588.00

        20 EROSION CONTROL
           312535  EROSION CONTROL - TEMPORARY GRASSING                  1.000 LSUM
           313700  EROSION CONTROL - RIPRAP                              1.000 LSUM
           312621  EROSION CONTROL - SILT SAVER                          1.000 EACH

                       EROSION CONTROL TOTAL                         $     11,427.00

        30 EARTHWORK
           312200.01 EARTHWORK - EXCAVATE & LOAD                      4,000.000 CUYD
           312200.05 EARTHWORK - HAULING - EXPORT                     4,000.000 CUYD
           312216.3 EARTHWORK - FINE - ROUGH GRADE                        1.000 LSUM
           312319    EARTHWORK - REMOVE WATER FROM POND 1                 1.000 LSUM
           321100    COURSES - RAP                                    1,024.000 TON

                       EARTHWORK TOTAL                               $    341,249.00



                       TOTAL BID                                     $    411,264.00




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                        EXHIBIT 3
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            Job Loss Profit from Jan 1 to Present

Project Name                                               Project No.        Plant            Asphalt Mix Type Asphalt Tonnage    Blount Internal Cost   Plant          Plant Cost           Per Ton Differ Total Sum

Forsyth County 2022 Resurfacing                                          2901 Blount Cumming   12.5 MM                  1,009.57                   66.29 CWM Cumming                  69.60           $3.31        3,341.68
                                                                              Blount Cumming   9.5 MM TP 1             15,777.17                   70.21 CWM Cumming                  82.00          $11.79      186,012.83
                                                                              Blount Cumming   9.5 MM TP 1             11,108.34                   70.21 CWM Big Creek                81.20          $10.99      122,080.66



                             Job Total                                                                                                                                                                          $311,435.17


Project Name                                               Project No.        Plant            Asphalt Mix Type Asphalt Tonnage    Blount Internal Cost   Plant          Plant Cost           Per Ton Differ Total Sum

City of Milton FY22 Asphalt Reconstruction & Resurfacing                 2905 Blount Cumming   19 MM                      670.01                   62.65 CWM Cumming                  70.80           $8.15        5,460.58
                                                                              Blount Cumming   9.5 MM TP 2                954.45                   67.82 CWM Cumming                  75.95           $8.13        7,759.68
                                                                              Blount Cumming   19 MM                    2,293.88                   62.65 CWM Big Creek                66.65           $4.00        9,175.52
                                                                              Blount Cumming   9.5 MM TP 2              7,542.25                   67.82 CWM Big Creek                73.40           $5.58       42,085.76


                             Job Total                                                                                                                                                                           $64,481.54


Project Name                                               Project No.        Plant            Asphalt Mix Type Asphalt Tonnage    Blount Internal Cost   Plant          Plant Cost           Per Ton Differ Total Sum

Sandy Springs 2023 Resurfacing                                           2937 Blount Cumming   19 MM                    1,936.52                   62.65 CWM Big Creek                66.65           $4.00        7,746.08
                                                                              Blount Cumming   12.5 MM                 12,366.30                   66.29 CWM Big Creek                72.00           $5.71       70,611.57




                             Job Total                                                                                                                                                                           $78,357.65




                 Total Job Profit Lost To Date                                                                                                                                                                 454,274.36

                    Still Anticipated Losses

Project Name                                               Project No.        Plant            Asphalt Mix Type Asphalt Tonnage    Blount Internal Cost   Plant          Plant Cost           Per Ton Differ Total Sum

Sandy Springs 2023 Resurfacing                                           2937 Blount Cumming   19 MM                    3,063.48                   62.65 CWM Big Creek                66.65           $4.00       12,253.92
                                                                              Blount Cumming   12.5 MM                 11,783.70                   66.29 CWM Big Creek                72.00           $5.71       67,284.93




                             Job Total                                                                                                                                                                           $79,538.85



Project Name                                               Project No.        Plant            Asphalt Mix Type Asphalt Tonnage    Blount Internal Cost   Plant          Plant Cost           Per Ton Differ Total Sum

City of Dunwoody 2023 Resurfacing                                        2949 Blount Cumming   25 MM                    4,265.00                   59.95 CWM Big Creek                66.85           $6.90       29,428.50
                                                                              Blount Cumming   9.5 MM TP 2              7,925.00                   67.82 CWM Big Creek                73.40           $5.58       44,221.50
                                                                              Blount Cumming   12.5 MM OGI              3,434.00                   78.16 CWM Big Creek                85.45           $7.29       25,033.86
                                                                              Blount Cumming   9.5 MM TP 1                 48.00                   70.21 CWM Big Creek                75.30           $5.09          244.32


                             Job Total                                                                                                                                                                           $98,928.18


Project Name                                               Project No.        Plant            Asphalt Mix Type Asphalt Tonnage    Blount Internal Cost   Plant          Plant Cost           Per Ton Differ Total Sum

City of Peachtree Corners 2023 Resurfacing                               2966 Blount Cumming   25 MM                    5,910.00                   59.95 ERS Norcross                 68.00           $8.05       47,575.50
                                                                              Blount Cumming   9.5 MM TP 1              4,205.00                   70.21 ERS Norcross                 78.30           $8.09       34,018.45
                                                                              Blount Cumming   12.5 MM OGI              2,792.00                   78.16 ERS Norcross                 90.00          $11.84       33,057.28



                             Job Total                                                                                                                                                                          $114,651.23


Project Name                                               Project No.        Plant            Asphalt Mix Type Asphalt Tonnage    Blount Internal Cost   Plant          Plant Cost           Per Ton Differ Total Sum

GDOT Dawson County Shoulder Rehab Various Roads                          2921 Blount Cumming   19 MM                    4,248.00                   62.65 ERS Norcross                 70.80           $8.15       34,621.20
                                                                              Blount Cumming   12.5 MM                    160.00                   66.29 ERS Norcross                 73.30           $7.01        1,121.60
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Job Total                                                                  $35,742.80
                                                                          $328,861.06


                                                      Job L-T-D           $454,274.36
                                                 Anticipated Job Loss     $328,861.06


                                                       TOTAL            $783,135.41
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                                                                                                                      CUMMING PLANT FOB ASPHALT SALES - EXPECTED LOSSES



   Estimated FOB Loss To Date

Project Name                        Project No.              Plant                         Asphalt Mix Type Asphalt Tonnage               Blount Internal Cost         Avg Sale Price    Avg Sale Price
                                                                                                                   15% Internal Vol.
Customer FOB Mix                    January                  Blount Cumming                Various / All Mix                  1,150.00                         66.29           $80.90        $16,801.50
                                    February                 Blount Cumming                Various / All Mix                  2,000.00                         66.29           $80.90        $29,220.00
                                    March                    Blount Cumming                Various / All Mix                  2,000.00                         66.29           $80.90        $29,220.00
                                    April                    Blount Cumming                Various / All Mix                  2,500.00                         66.29           $80.90        $36,525.00

          To Date Estimated                                                                                                                                                                 $111,766.50

Estimated FOB Loss For Near Future

Project Name                        Project No.              Plant                         Asphalt Mix Type Asphalt Tonnage               Blount Internal Cost         Avg Sale Price    Avg Sale Price
                                                                                                                   15% Internal Vol.
Customer FOB Mix                    May                      Blount Cumming                Various / All Mix                  2,500.00                         66.29           $80.90        $36,525.00
                                    June                     Blount Cumming                Various / All Mix                  2,500.00                         66.29           $80.90        $36,525.00
                                    July                     Blount Cumming                Various / All Mix                  2,500.00                         66.29           $80.90        $36,525.00


          Future Profit Loss                                                                                                                                                                $109,575.00


                   Recovery for Loss on Manafactured Cost Items
                                                                                                                                                                            TONS
                                                             Plant                         Variable Expense
                                                                                           Lost & Still Paying Cost Per Ton
                                                             Blount Cumming                 Natural Gas/Oil                       $2.60
                                                             Blount Cumming                 Utilities/Electric                    $0.44 Asphalt Tons Jan-April              53,658.49
                                                             Blount Cumming                      Labor                            $2.85 Not Recovered
                                                                                            Equip, Designs,                       $2.42 Est. Tonnage From Jobs              47,834.18
                                                                                              Maintenance                                 After April 30th-July 31
                                                                                             Depreciation                         $2.04 Asphalt FOB Tons                      7,650.00
                                                                                                                                          Through April 30
                                                                                                                                          Est. FOB Tonnage                    7,500.00
                                                                                                                                          Through July 31


          Future Profit Loss                                                               Total Sum                          $10.35                                        116,643      $1,207,251.63




                                    Lost or Damaged          Model                         Quantity                Value                  Total
                                    Slope Cleanup & Repair                                                                  TBD                      TBD
                                    Yard & Retention Ponds Yard Mud, Debris, Disposal,                         1           $400,000.00               $400,000.00
                                    Cleanup (Excluding       Clean up of Retention Ponds
                                    Slope)
                                    Office Trailer           Replace - Vesta                                   1            $75,149.00                $75,149.00
                                    Office Trailer           Replace - Vesta                                   1            $75,149.00                $75,149.00
                                    Quality Control Lab      New & Relocate                                    1             $8,532.00                 $8,532.00
                                                             Due to Slope Hazard
                                    Automation Drive         T/C FC-302N20075E2Oh2BGC7                         1                  24668               $24,668.00
                                                             200KW/300HP
                                    Westinghouse Motor       NEMA Premium HP 10                                1                   842                      $842.00
                                                             Frame 215T
                                    Baltor Reliance Motor    NEMA PH 15 Frame 254T                             1                  1043                  $1,043.00
                                    Main Head Shaft &        Hot Elevator                                      2                  1400                  $2,800.00
                                    Tail Shaft
                                    TEFC: Industrial Elect   HP 7.5 Frame 213T                                 1                   800                      $800.00
                                    Motor
                                    Air Locke                Meger Made                                        1                  7400                  $7,400.00
                                    Dodge : Bearing House Tapper Roller Bearing                                2                   200                   $400.00
                                                             Style KDI Series 515
                                                             Part # 023416
                                    Baldor DC Motor          HP 3 Frame 215 C                                  2                   500                  $1,000.00
                                    Battery Charger          Schumacher 200A                                   1                   167                   $167.00
                                    RO-Tap Shaker            Model RX-29                                       1                  4025                  $4,025.00
                                    Honda Pressure           Northstar                                         1                   925                   $925.00
                                                                              Case 1:23-mi-99999-UNA Document 2545-9 Filed 08/09/23 Page 173 of 189
                                     Washer
                                     2x12x12 Pressure         Wood                                           3            31        $93.00
                                     Treated
                                                                                                     Total Loss/Damaged        $602,993.00


AC Hauler - 2 load weekly average                                                 $14.50               50.00
William Daniels Trucking       January                                                  3         $2,175.00
                                     February                                           4         $2,900.00
                                     March                                              5         $3,625.00
                                     April                                              4         $2,900.00
                                     May                                                4         $2,900.00
                                     June                                               5         $3,625.00
                                     July                                                 4       $2,900.00
                                                                                                 $21,025.00

Asphalt Plant Upgades                                     Improvements                        Cost
In 2022 Cumming Plant was downed        New Baghouse, Double barrel drum, RAP System                 $2,500,000
for upgrades with plans to be back          and Conveyor - these improvements will have
up and running January 3rd.                    a 40% improvement on mix production.


                                                       Cumming Plant Value                           $6,000,000
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                    CHALMERS, ADAMS, BACKER & KAUFMAN, LLC
                                         ATTORNEYS AT LAW
                                    11770 HAYNES BRIDGE ROAD, G-205
                                       ALPHARETTA, GA 30009-1968
    PHONE: 770-630-5927
    EMAIL: akaufman@chalmersadams.com
                                  February 13, 2022
                      IMPORTANT EVIDENCE PRESERVATION NOTICE
                             PLEASE READ IMMEDIATELY

City of Cumming                        City of Cumming                 City of Cumming
Attn: Troy Brumbalow                   Attn: Jason Evans               Attn: Linda Ledbetter
Mayor                                  Council Member                  Council Member
Cumming City Hall                      Cumming City Hall               Cumming City Hall
100 Main Street                        100 Main Street                 100 Main Street
Cumming, GA 30040                      Cumming, GA 30040               Cumming, GA 30040
tbrumbalow@cityofcumming.net           jevans@cityofcumming.net        drlindaledbetter@aol.com
FedEx: 7712 8817 9550                  FedEx: 7712 8820 2184           FedEx: 7712 8821 7040
City of Cumming                        City of Cumming                 City of Cumming
Attn: Chad Crane                       Attn: Joey Cochran              Attn: Christopher Light
Council Member                         Council Member                  Council Member
Cumming City Hall                      Cumming City Hall               Cumming City Hall
100 Main Street                        100 Main Street                 100 Main Street
Cumming, GA 30040                      Cumming, GA 30040               Cumming, GA 30040
ccrane@cityofcumming.net               joeycochran@cityofcumming.net   clight@cityofcumming.net
FedEx: 7712 8823 1618                  FedEx: 7712 8846 2689           FedEx: 7712 8825 9448
City of Cumming                        City of Cumming                 City of Cumming
Attn: Jonathon Heard                   Attn: Heath Martin              Attn: Tom Bryson
Director of Utilities                  Assistant to Director           Superintendent Water Pollution
Cumming City Hall                      Cumming City Hall               Division
100 Main Street                        100 Main Street                 935 Dahlonega Highway
Cumming, GA 30040                      Cumming, GA 30040               Cumming, GA 30040
Applications@cummingutilities.com      FedEx: 7712 8836 5115           tombryson@cityofcumming.net
FedEx: 7712 8834 8156                                                  FedEx: 7712 8840 0463
Miles Hansford & Tallant, LLC
Attn: Kevin J. Tallant
City Attorney
202 Tribble Gap Road
Suite 200
Cumming, GA 30040
FedEx: 7712 8843 6383

            Re:    Blount Construction Company, Inc., v. City of Cumming.
                   Property Damage Caused by Water Tower Breach
                   Litigation Hold, Document Request and Policy Demand

            To Whom It May Concern:

           This office, together with The Hilbert Law Firm, LLC, represents Blount Construction
    Company, Inc. (“Blount Construction”) with regard to the above-mentioned matter. As you are no
    doubt aware, on or about December 6, 2022 – December 8, 2022, the water towers (the “Water
    Tower”) located adjacent to Blount Construction’s property located at 911 Canton Highway
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Cumming, GA, 30040 (the “Property”) discharged millions of gallons of water (the “Tower Failure
Occurrence”) onto the Property. Blount Construction has incurred and continues to incur
significant damages as a result of this Tower Failure Occurrence, the resulting repairs, and civil
litigation against the City of Cumming (the “City”), which is imminent. The purpose of this letter
is to place the entire City, as well as its agencies, affiliates, departments, employees,
representatives, insurers, and its agents, including without limitation, any hired experts,
contractors, and/or subcontractors, on notice of pending litigation, and having notified the City of
pending litigation, to remind the City of its obligations to take reasonable steps to preserve and not
to spoliate any and all evidence in its unaltered native form, all information, records, statements,
and documentation whether physical, printed, digital, or electronic, or tangible or intangible, that
is or may become relevant to the Tower Failure Occurrence, the land upon which the Water Tower
is located and abutting, any subsurface pipes connected to or serving the Water Tower, any
monitoring/alert system involving the Water Tower, and any debris from the Tower Failure
Occurrence that was collected, retained or removed from the situs of the Water Tower.

         This request for preservation or evidence, documentation, records and information
includes, but is not limited to, any, of the following that in any way relate to communications (1)
with Blount Construction, (2) about Blount Construction, (3) about the Water Tower, including
without limitation, their design, installation, civil and/or structural engineering, ground lateral
support, pressure capacities, fill capacities, fill and refill valves, pipes and levers, catastrophic
failure studies, hydrology studies, pressure tests, other testing, surveys, geotechnical plans and
studies, topographical plans and studies, subsurface and surface piping, history of monitoring,
structural integrity testing and inspection, (4) about the Property, (5) about inspections, operations,
maintenance and repairs to the Water Tower within the last twenty (20) years, (6) about personnel
and contractors that entered the Property where the Water Tower is located and/or the Blount
Construction property,(7) about contractors or sub-contractors used to repair the Water Tower and
its surrounding areas, and (8) about any monitoring, alerts or other systems and personnel charged
with the duty of monitoring the Water Tower. This preservation demand further includes and
applies to any alerts, notices, notifications, monitoring warning, or emergency alerts the City and
its employees and agents received or should have received surrounding the Water Tower within
the last five (5) years. Included in this request are personnel records of anyone who authorized or
completed any maintenance, inspections, and testing of any kind and nature on the Water Tower,
the land above and/or below surface, and its surrounding area within five (5) years of the Tower
Failure.

         The City is further specifically required to preserve all records and tangible items related
to the Water Tower and the Tower Failure Occurrence including, but not limited to, pipes, valves,
levers, screws, nuts, bolts, washers, gauges, flanges of any kind and nature, pressure devices,
debris, content of any pipe obstruction of any kind, soil, photos, installation design plans,
construction drawings and plans, plans to operate and service the Water Tower, complaints and
reports made regarding the structural integrity of the Water Tower and its above or below surface
pipes, payments made to operate, service, test, inspect and repair the Water Tower and above or
below surface pipes, and all types of electronically-stored records which reference the
abovementioned information, including, but not limited to, backed-up records, archived records,
digital records, legacy information, data of any kind, hidden data, embedded data, meta-data, and
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residual-deleted data, whether on separate media, computer networks, standalone computers, and
cloud-based storage, social media, photographic record, video record, drone surveillance record,
subsurface “snaking” camera footage of any piping, cellphone records, whether proprietary or
otherwise, etc. We also expect that corresponding paper documents, records, and real objects will
be preserved in accordance with all statutes, common law, and litigation-relevant standards that
apply (collectively, the “Documents”). If the City has any policy that requires automatic deletion
or destruction of emails, evidence or any Documents, the City is notified and informed to cease
and desist any such policy immediately pursuant to this letter.

        In addition to the foregoing, be advised that Blount Construction and its agents intend to
inspect the Water Tower and its appurtenances, any damaged pipes, repaired pipes and surrounding
retaining walls that were recently installed around the Water Tower without notice to Blount
Construction. Notice of an inspection and any invasive/destructive testing, above and below
surface, will come through a later correspondence.

         PLEASE TAKE FURTHER NOTICE pursuant to O.C.G.A. §50-18-70 et. seq., and accept
this letter as a formal open records request for all of the above-referenced Documents within the
next three (3) business days. Please identify which department(s) will be producing said
Documents, and we will promptly provide an upload link for the Documents.

        We further take this opportunity to direct the City to place all of its insurance carrier(s) on
notice of a potential claim against its policies. Pursuant to O.C.G.A. §33-3-28, please accept this
letter as a further demand for the City’s insurance policy(ies). To make ourselves clear, this
demand specifically requests and applies to complete copies of the policy(ies). The production of
only the declarations page of any given policy will not satisfy this demand. Finally, be advised
that a separate Ante-Litem Notice is forthcoming.

        We urge the City to consult with a legal professional immediately so that they may properly
advise the City on the serious nature of this matter, and the City’s legal obligations to preserve
evidence. Please direct all communications regarding this matter to my attention at the email
address and phone number listed above. All communication directed to my attention should also
include Mr. Kurt Hilbert, Esq., at The Hilbert Law Firm, LLC, whose address is 205 Norcross
Street, Roswell, GA, 30075 and via email at khilbert@hilbertlaw.com.

       Govern yourselves accordingly.
                                                       /s/ Alex B. Kaufman, Esq.
                                                       For the Firm
       Cc: khilbert@hilbertlaw.com
